Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 1 of 49

                  UNITED STATES DISTRICT COURT
                  WESTERN DISTRICT OF WISCONSIN

                        CASE NO. 17-CV-823




CONSUELA SMITH-WILLIAMS, FRED
RIVERS, RICHARD MURPHY, ROBERT
RISTOW, ROGER SUHR, and
SALVADOR FUENTES, individually,
and on behalf of all similarly situated,

      Plaintiffs,

vs.

THE UNITED STATES OF AMERICA,

     Defendant.
__________________________________________/




                  DEPOSITION OF VICTORIA BRAHM

      witness in the above-entitled action, taken
      under the Federal Rules of Civil Procedure,
      before Mary P. Hader, Registered Professional
    Reporter and Notary Public in and for the State
 of Wisconsin, at the Tomah VA Medical Center, 500 East
  Veterans Street, Building 408, Conference Room 3815A,
 Tomah, Wisconsin, on September 25, 2018, commencing at
         2:40 p.m. and terminating at 4:00 p.m.




REPORTED BY:
Mary P. Hader, RPR, CSR
   Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 2 of 49

                                   Brahm, Victoria       09-25-2018
                                               2                                                                 4

 1          APPEARANCES OF COUNSEL                  1               INDEX OF EXHIBITS
 2 ON BEHALF OF THE PLAINTIFFS:                     2 EXHIBITS             DESCRIPTION                  PAGE
 3   THE DOWNS LAW GROUP - MIAMI-DADE OFFICE        3   G     Article, Victoria Brahm tries to heal
     ATTORNEY WILLIAM T. RIEDER, JR.                         scandal-plagued Tomah VA Medical Center 13
 4   3250 Mary Street, Suite 307                    4
     Coconut Grove, FL 33133                            H     Report of Contact, Victoria Brahm           18
 5                                                  5
   ON BEHALF OF THE DEFENDANTS:                         I    Service Chief Approval                  26
 6                                                  6
     U.S. DEPARTMENT OF JUSTICE                         J    Report of William J. O'Brien, DDS            32
 7   UNITED STATES ATTORNEY'S OFFICE                7
     ATTORNEY DAVID D. CONWAY                           K     Letter of November 29, 2016                51
 8   ASSISTANT UNITED STATES ATTORNEY               8
     WESTERN DISTRICT OF WISCONSIN                      L     CERT report                         52
 9   222 West Washington Avenue, Suite 700          9
     Madison, WI 53703                             10
10                                                 11
11                                                    (Original exhibits attached to original transcript.
12                                                 12 Copies of exhibits attached to transcript copies.)
13                                                 13
14                                                 14
15                                                 15
16                                                 16
17                                                 17
18                                                 18
19                                                 19
20                                                 20
21                                                 21
22                                                 22
23                                                 23
24                                                 24
25                                                 25



                                               3                                                                 5

 1           INDEX OF EXAMINATION                   1           DEPOSITION OF VICTORIA BRAHM
 2 WITNESS NAME: Victoria Brahm                     2              SEPTEMBER 25, 2018
                                 PAGE               3 THEREUPON:
 3 DIRECT EXAMNATION
                                                    4              VICTORIA BRAHM,
      BY Mr. Rieder                   5
 4                                                  5 having been called as a witness herein, being first duly
   CROSS EXAMINATION                                6 sworn, was examined and testified as follows:
 5    BY Mr. Conway       67 - 69                   7              DIRECT EXAMINATION
 6 REDIRECT EXAMINATION                             8 BY MR. RIEDER:
      BY Mr. Rieder      69 - 72
                                                    9     Q   Could you please state your name for the
 7
 8                                                 10 record.
 9                                                 11     A   Victoria Brahm.
10
                                                   12     Q   And your address?
11
12                                                 13     A
13                                                 14
14
15                                                 15     Q   And your date of birth, please.
16                                                 16     A
17                                                 17     Q   And are you represented by counsel here today?
18
19                                                 18     A   Yes, I am.
20                                                 19     Q   Are you currently employed?
21                                                 20     A   Yes, I am.
22
23                                                 21     Q   Where are you employed?
24                                                 22     A   The Tomah VA Medical Center.
25
                                                   23     Q   And what is your position?
                                                   24     A   The medical center director.
                                                   25     Q   Have you ever had your deposition taken
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 3 of 49

                                              Brahm, Victoria           09-25-2018
                                                              6                                                                 8

 1 before?                                                         1 is that involving the over the prescription or
 2     A   Yes, I have.                                            2 overprescription of opioids or pain medication?
 3     Q    How many times?                                        3     A   Yes. There were multiple investigations
 4     A   Oh, I -- many. I -- I can give you a                    4 surrounding that whole series of events.
 5 ballpark.                                                       5     Q   And how about involving -- the litigation
 6         I don't -- maybe ten.                                   6 involving Jay Simcakoski? Were you involved in that?
 7     Q    I'll take the ballpark.                                7     A   Some of the questions in the deposition
 8         Okay. Ten?                                              8 brought up the incident, but his actual passing away was
 9     A   Yeah.                                                   9 prior to me being here, so I guess -- I guess it would
10     Q    Were any of those cases in which there was an         10 be yes, that some of those questions came up regarding
11 allegation of negligence against the Tomah VA?                 11 care delivered, but, at the time, you know, I was not
12     A   Let's see. I have to try and think of them.            12 there, so I was not the person. I was talking about
13         There were allegations. There were                     13 things that we'd done after that to remedy things.
14 allegations in one.                                            14     Q   Okay. All right. Well, for this deposition,
15     Q    Okay. What were the allegations?                      15 I just ask you to please wait until I finish my question
16     A   I think that was with the veterans assistance          16 before you begin your answer so we don't talk over each
17 foundation when we were moving them off the property, so       17 other so the court reporter can take down everything
18 there were allegations, you know, that we might be doing       18 that you say. Please answer my questions out loud as
19 harm by moving them off the property.                          19 opposed to shaking your head or nodding so the court
20     Q    Was that in relation or in response to an             20 reporter can record it. I ask you not to speculate and
21 incident where a veteran died?                                 21 only answer a question if you know the answer. And if
22     A   That wasn't directly in response to that.              22 at any time you need a break, that's certainly fine;
23 There were multiple issues with that foundation causing        23 just let me know;
24 me to want to stop the contract and move them off the          24 I'll be happy to take a break, but just if there's a
25 property. That was one of the issues.                          25 question pending, if you let me -- if you'll answer the


                                                              7                                                                 9

 1     Q    And the other depositions that you were                1 question before you take the break. Does that sound
 2 involved in, were those negligence actions as well?             2 good?
 3     A   Not to my knowledge; not negligence, no.                3     A   Sounds good.
 4     Q    Okay. Well, to your understanding, I mean,             4     Q   All right. Are you aware that a lawsuit has
 5 were they involving -- strike that.                             5 been filed by six veterans against the Tomah VA
 6         Were they involving tort claims?                        6 Medical Center?
 7     A   No.                                                     7     A   Yes.
 8     Q    I lost you. Can you hear me?                           8     Q   Do you know what they allege happened?
 9     A   Yeah, I can hear you.                                   9     A   Not in detail. I know stress is a factor.
10         No, this is the first one with tort claims.            10     Q   Okay.
11     Q    Okay. Well, let me ask you quickly. We don't          11     A   Well, you mean, that they were exposed -- they
12 have to spend a ton of time on this, but what were the         12 feel they were exposed to potential viruses because of a
13 other depositions relative to?                                 13 negligent dentist.
14     A   See, I'm trying to remember. I've done a lot           14     Q   Okay. Is that true?
15 of -- I know I've done a lot of testimony on issues, but       15     A   There was a negligent dentist. There was very
16 some of them were the same ones over and over. There --        16 low risk of some exposure to some veterans.
17 I had to do one -- yes, there was another one. How             17     Q   So you say there was a negligent dentist.
18 could I forget.                                                18         Do you think the VA, Tomah VA was negligent in
19         Dr. Houlihan with the whole opioid scandal.            19 any way?
20         That was the other -- several depositions              20     A   No, I don't.
21 related to that. And so I suppose that was, that was           21     Q   Do you think it was all on the dentist?
22 more allegations against the Tomah                             22     A   I think it was a purposeful act of a dentist
23 Hospital. I was not the director at the time.                  23 who knew better.
24         Well, I was acting director.                           24     Q   You say it was purposeful. You mean it was
25     Q    By the Dr. Houlihan scandal you're mentioning,        25 purposeful in that he was purposefully breaching
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 4 of 49

                                               Brahm, Victoria           09-25-2018
                                                              10                                                                12

 1 infection control standard or purposely trying to hurt           1     A    He is stationed in Milwaukee but is a VISN
 2 the veterans?                                                    2 employee. I was similar to that. I lived in
 3     A     I don't think it was malicious. I think it             3 Milwaukee, a suburb of Milwaukee, and was a VISN
 4 was the latter, that he purposefully knew better and             4 employee as well.
 5 vio- -- breached our policies which he was trained on.           5     Q    And I interrupted you. You were going to tell
 6     Q     So you don't think he was doing this to hurt           6 me more about your background so I'll listen.
 7 anybody?                                                         7     A    Well, I was at the VISN for ten years as the
 8     A     I don't think so.                                      8 chief quality management officer and the chief nursing
 9     Q     Did anything in the investigation uncover that         9 officer. And then, prior to that, 25 years with the
10 he was attempting to hurt anybody?                              10 Milwaukee VA in various positions. I started there in
11     A     No, not to my knowledge.                              11 1981 as a staff nurse.
12     Q     All right. To complicate this, doing this             12     Q    And did you have any prior experience as a
13 deposition by video conference, there appears to be             13 director of a facility?
14 construction in the room next door, so you're probably          14     A    Not a director. I graduated in 2004 from a
15 going to hear the jackhammer while we do this.                  15 healthcare leadership institute with the VA. I was
16     A     I'm sorry. I did not do that on purpose.              16 there from 2004 to 2006. So actually graduation was in
17     Q     I don't know.                                         17 2006. I also had core business training and have been a
18         Have you reviewed any documents before coming           18 quadrad leader, which means one of the four leaders in
19 here today?                                                     19 the region. So not exactly a director, but in the
20     A     I did.                                                20 quadrad for those ten years. In addition, I have done
21     Q     What did you review?                                  21 an acting director role in Iron
22     A     I did refresh my memory. I read the IG                22 Mountain, Michigan.
23 report.                                                         23     Q    And when did you first come to the Tomah VA?
24         I read some of my notes and time lines related          24     A    October 2015.
25 to what happened on certain dates to refresh my memory.         25     Q    And that's incidentally the same month that


                                                              11                                                                13

 1 I reread the investigation that                                  1 Dr. Schiller came to the Tomah VA. Is that right?
 2 Dr. O'Brien did as well.                                         2     A    That is right.
 3     Q     All right. And those notes and time lines              3     Q    Did you have any role in his hiring?
 4 that you kept, is that personal notes that you have or           4     A    No. Other than signing off, you know, that is
 5 is that something that was turned over to the                    5 done at the chief of staff. But when they set salary,
 6 investigators?                                                   6 that comes through the director's office, so I would
 7     A     Yeah. Everything should be -- should have              7 have signed a document authorizing his salary.
 8 been turned over. Yeah, these aren't personal notes.             8     Q    Okay. What was the Tomah VA Medical Center
 9         They are things that we submitted at the time            9 like when you took over?
10 it was being looked into.                                       10     A    It was -- traumatized would be a good word.
11     Q     So what is your highest level of education?           11         They were actively going through this opioid
12     A     A Master's degree.                                    12 scandal. There were field hearings. There were
13     Q     From where?                                           13 IG inspections, DEA inspections, multiple different
14     A     UWM-Milwaukee.                                        14 bodies. There were vacancies. We had to rebuild the
15     Q     All right. Did you have any jobs coming --            15 medical center. So I would call it traumatized.
16 before coming to Tomah VA?                                      16         MR. RIEDER: All right. If you'll take a look
17     A     Yes. I have -- I've been with the VA over 37          17     at -- we're going to mark it as Exhibit G.
18 years. But prior to this VA, I was at the                       18         It's -- Mary, it's an article entitled
19 VISN 12 office, the regional office in Chicago.                 19 Victoria Brahm tries to heal scandal-plagued
20         Prior to that -- I'm sorry.                             20 Tomah VA Medical Center.
21     Q     Where Dr. O'Brien is, by the way?                     21         (Discussion off the record.)
22     A     I'm sorry.                                            22         (Brahm Exhibit G marked for identification.)
23     Q     Yeah, I know this is going to be problematic          23 BY MR. RIEDER:
24 but there's no way -- I said, is that where                     24     Q    If you just take a look at it, Mrs. Brahm, and
25 Dr. O'Brien is, by the way?                                     25 just take a moment to orient yourself with it.
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 5 of 49

                                              Brahm, Victoria            09-25-2018
                                                              14                                                              16

 1          Let me know when you're familiar with.                  1 culture of intimidation, retaliation, and those that
 2     A    I am familiar with the article.                         2 thought that the hospital couldn't survive, and you
 3     Q     All right. So I'm just -- I'm looking through          3 working to change that culture. But in -- tell me if
 4 it right here, and it says -- and I'm paraphrasing --            4 you agree with me that that's not the kind of change
 5 that you were brought in to fix the place in the wake of         5 that happens overnight.
 6 the scandal. During an hour long interview in her                6     A   It doesn't, but it was very rapid.
 7 office, Brahm pointed to improvements in care and a push         7     Q    So -- (vibration of voice) --
 8 to change the work culture. Says that Brahm described            8         MR. CONWAY: Bill, we're having that same
 9 the necessity of confronting a toxic work culture.               9     problem again. I don't know if you want to try a
10          Is that accurate? Is that your statement?              10     disconnect-reconnect. Basically, your voice comes
11     A    There were -- yes, there were pockets of               11     across in like a jackhammer sound.
12 toxicity as well.                                               12         It's kind of a real rapid cutting in and out,
13     Q     Okay. In what way?                                    13     so it doesn't --
14     A    There were some areas where there was some             14         MR. RIEDER: All right. (Vibration of voice.)
15 bullying and intimidation by the previous leadership.           15         MR. CONWAY: Okay. All right.
16 That's one of the reasons that, you know, they're not           16         THE WITNESS: Should I try and see if
17 here anymore. So there was not necessarily an                   17 I can get this jackhammering to stop?
18 environment there of psychological safety in those              18         THE REPORTER: Sometimes it's the phone. Are
19 years.                                                          19     your phones on? Because if that's that close,
20     Q     And the article says in a January 2015 report,        20     sometimes that will make a change.
21 the center for investigative reporting revealed a               21         Can you put them --
22 pervasive culture of intimidation and retaliation               22         THE WITNESS: Sure.
23 against employees.                                              23         THE REPORTER: I hadn't thought about that the
24          Can you hear me or am I talking too fast?              24     last time, but usually --
25          THE REPORTER: It's too fast with this                  25         MR. CONWAY: Do you think the hotspot's doing


                                                              15                                                              17

 1     drilling in the background.                                  1     it? Or is it necessary for what you're --
 2          MR. RIEDER: All right.                                  2         THE REPORTER: I don't know. I don't think
 3          THE REPORTER: The article says in a                     3     it's doing harm.
 4 January '15 report, the center for --                            4         MR. CONWAY: Okay.
 5 BY MR. RIEDER:                                                   5         THE REPORTER: It has to be there for the
 6     Q     -- investigative reporting, it revealed --             6     connection to keep going.
 7 revealed a pervasive culture of intimidation and                 7         MR. CONWAY: Okay. Do you want it closer or
 8 retaliation against employees who spoke out.                     8     farther away?
 9          Is that what you're referencing?                        9         THE REPORTER: It's not mine so I don't know
10     A    Right. Much of that coming from the previous           10     how far away it works.
11 chief of staff.                                                 11         MR. CONWAY: Okay. Sounds good.
12     Q     And who was that?                                     12         MR. RIEDER: Are you there?
13     A    Dr. David Houlihan.                                    13         MR. CONWAY: Yeah, much better.
14     Q     Yeah. I think you went on to say there were           14         MR. RIEDER: All right. You got me?
15 those who thought the hospital couldn't even survive.           15         MR. CONWAY: Yeah, loud and clear.
16 Is that accurate?                                               16         MR. RIEDER: All right. I have absolutely no
17     A    Staff were scared. Staff were scared and               17     idea where I was.
18 there was some question about whether Tomah would be            18         Can you let me know, Mary, where I was, what
19 able to pull through this scandal because it was so             19     we were discussing?
20 public and traumatizing.                                        20         I'm actually -- you know what? Never mind. I
21     Q     So you had to work to change the culture?             21     found it.
22     A    Yes.                                                   22         So we were talking about -- we're on the
23          (Discussion off the record.)                           23     record. Everybody there?
24 BY MR. RIEDER:                                                  24         MR. CONWAY: Yeah.
25     Q     All right. So we talked about the pervasive           25         THE WITNESS: Yes.
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 6 of 49

                                             Brahm, Victoria            09-25-2018
                                                             18                                                                20

 1 BY MR. RIEDER:                                                  1     Q    And I assume that they were kind of set in
 2     Q    Okay. So what I stated was that, during the            2 their ways?
 3 course of this interview, you were asked what the               3     A    Some were.
 4 facility would look like a year from now.                       4     Q    Yeah. Did any of them have to be retrained?
 5         Brahm said, it's not going to be perfect                5     A    Yes. Retraining and removing in some cases.
 6 because change takes a long time. Is that accurate?             6     Q    Was any of that retraining or removing
 7     A   Yes.                                                    7 directed at the dental clinic?
 8         MR. RIEDER: Okay. And you were -- you were              8     A    There was retraining and removing with this
 9     interviewed by the OIG.                                     9 incident.
10         If you want to mark that as the next exhibit;          10     Q    I'm talking about before --
11     it's Report of Contact, 2655, Mary.                        11     A    Before that?
12         THE REPORTER: 2665?                                    12     Q    -- that came to light.
13         MR. RIEDER: Yeah, 2665.                                13     A    There was normal training. That was not one
14         (Brahm Exhibit H marked for identification.)           14 of the areas identified in my tenure as the -- as a
15 BY MR. RIEDER:                                                 15 toxic area.
16     Q    Okay. So if you go to -- if you turn to page          16     Q    Were there any specific changes that you
17 three, it's 2667 at the bottom. If you just take a             17 implemented directed at the dental clinic?
18 moment to orient yourself with that, let me know when          18     A    Well, I think there were changes that applied
19 you're familiar.                                               19 to the dental clinic as well as lots of others.
20     A   Okay. I'm there.                                       20         For one thing, we did massive amounts of
21     Q    All right. Okay. I'm looking at -- I'm                21 psychological safety training, and that is reporting.
22 looking at the middle of the page.                             22 We did a lot of training with civil respect. We did --
23                                                                23 implemented a program called
24                                                                24 VA Voices, which is about listening, and understanding,
25                                                                25 and valuing differences and diversity, which applied to


                                                             19                                                                21

 1                                                                 1 everyone.
 2                                                                 2     Q    So it sounds like this fear and intimidation
 3                                                                 3 thing was a very pervasive -- and correct me if
 4                                                                 4 I'm wrong -- very pervasive feeling throughout the
 5                                                                 5 facility because you spent a lot of time on
 6                                                                 6 psychological safety training. Is that accurate?
 7                                                                 7     A    Yes.
 8                                                                 8     Q    Did you have any interaction with the chief of
 9                                                                 9 dental services?
10                                                                10     A    I had some interaction.
11                                                                11     Q    Did he report directly to you?
12                                                                12     A    No.
13                                                                13     Q    Who did he report to?
14                                                                14     A    He reported to the associate chief of staff
15                                                                15 from
16                                                                16 Madison service.
17                                                                17     Q    And who is that?
18                                                                18     A    Dr. Joy Pica.
19     Q                                                          19     Q    Did she report to you?
20                                                                20     A    No, she would report to the chief of staff.
21                                                                21     Q    And who was that?
22     A                                                          22     A    At that time, it was Dr. Sheila Gelman. She
23     Q    There were employees that had been there for a        23 is retired.
24 long time when you took over. Is that correct?                 24     Q    And you still have contact information for
25     A   Correct.                                               25 Dr. Gelman?
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 7 of 49

                                            Brahm, Victoria             09-25-2018
                                                             22                                                                24

 1     A   I suppose human resource may have it. She's             1     Q    Do they talk to witnesses? Or what kind of
 2 out of the state.                                               2 things do they do?
 3     Q    So what was your contact like with                     3         MR. CONWAY: Bill, can we take a quick break?
 4 Dr. Marcantonio?                                                4     I can see somebody has joined this conference named
 5     A   It would be at certain meetings; when I did             5     Jason Mareno.
 6 rounds. Not frequent.                                           6         MR. RIEDER: Jason Mareno is the court
 7     Q    Monthly, weekly?                                       7     reporter here in Miami --
 8     A   Monthly might be accurate.                              8         MR. CONWAY: Okay.
 9     Q    Did you have any opinion of him as a leader?           9         MR. RIEDER: -- that's supposed to be helping
10     A   I didn't know him well. He was respected by            10     us. I don't know why it says that.
11 the associate chief of staff for medicine. He seemed           11         MR. CONWAY: Okay.
12 very cordial, respectful, to me.                               12         MR. RIEDER: I mean, I don't think he's, like,
13     Q    Do you know what role, if any, he played in           13     listening in or anything. Is that a concern or --
14 hiring Dr. Schiller?                                           14         MR. CONWAY: Not anymore. It looks like he's
15     A   I don't know. He would have been a selecting-          15     gone.
16 - but he would have been a selecting person.                   16         MR. RIEDER: He's dropped off. Yeah, I think
17         Dr. Schiller would have reported directly to           17     we're okay.
18 him so he would have been the selecting official.              18         MR. CONWAY: Just to the extent we're getting
19     Q    What's a selecting official?                          19     into confidential things, I don't want somebody
20     A   That is the person -- the person who the               20     else on the line.
21 employee will report to gets to make the final decision        21         MR. RIEDER: Right. Okay.
22 for the hire of that employee, so he would be the final        22         All right. Yeah. Go ahead, Mary, if you
23 decision maker.                                                23     will, and mark 937.
24     Q    It was up to him to say, let's hire him; or,          24 BY MR. RIEDER:
25 no, let's pass on this guy?                                    25     Q    Before we look at that, though, so what type


                                                             23                                                                25

 1     A   Yes.                                                    1 of fact finding is this medical staff executive
 2     Q    Are you aware of Dr. Schiller's background             2 committee? What kind of fact finding do they do?
 3 prior to being hired by the VA?                                 3     A   I suppose it would be different for any
 4     A   I know he was in the military.                          4 provider. I mean, depending what the issue is.
 5     Q    Are you aware of any adverse events?                   5     Q    I guess I'm trying to get a feel for how deep
 6     A   I think there was one event where he was, I             6 of a dive it is. Do they actually go out and interview
 7 believe -- well, I don't want to conjecture.                    7 witnesses? Or do they just look at what's online? Do
 8         There was one event that the medical staff              8 you know?
 9 executive board reviewed and felt that he was not at            9     A   I don't want to conjecture. I don't believe
10 fault, and -- but I don't know. I think it may have            10 they talk to witnesses. They look at the case and they
11 been removed.                                                  11 look at what happened. I also know that the chief
12     Q    Who reviewed it?                                      12 medical officer -- on any cases I believe over
13     A   There is a medical staff executive committee           13 $100,000.00, the chief medical officer at the VISN
14 that reviews all history of any new hire of any new            14 reviews the case as well.
15 provider and decides if they'll be awarded privileges          15     Q    What do you mean, over $100,000.00?
16 and what level of privileges, that kind of thing. So           16     A   So if you file -- if you lose a tort claim and
17 they review -- Vetpro, which is a -- it's a database           17 you have to pay out over $100,000.00, then you're
18 that tracks all tort claims and claims greater than            18 reported on Vetpro, and that will show up in any
19 $100,000.00, those types of things.                            19 application. You're required to say that on applying
20     Q    So what type of investigation do they conduct?        20 for a job.
21     A   Well, they look at any claims, and then they           21     Q    So do they review these to some extent based
22 do the research on those claims to see if they were            22 on the amount of money that was awarded?
23 valid, not dropped. You know, sometimes physicians are         23     A   Well, I think they review all the -- the full
24 accused of things and then it's dropped upon                   24 application, but the Vetpro is a key factor.
25 investigation.                                                 25         And I -- I'm not a Vetpro expert, but I
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 8 of 49

                                             Brahm, Victoria             09-25-2018
                                                              26                                                                 28

 1 believe that the cases that are greater than $100,000.00         1     A
 2 are mandatorily required to be reported on                       2
 3 Vetpro. So they absolutely look at those. And then any           3
 4 other application -- and they do call references. And I          4
 5 know they do -- they do do that very strictly.                   5
 6     Q    So in a tort claim where, say, $2,500.00 was            6
 7 awarded, would that be accorded less potential scrutiny          7
 8 than a tort claim where $100,000.00 was awarded?                 8
 9     A    I don't think so because I've actually seen             9
10 them look at issues with a provider that may have had           10
11 some unrelated charge, and they have made sure that they        11     Q
12 brought it up in the interview, looked into it, called          12     A
13 references that were not Vetpro issues.                         13     Q
14         (Brahm Exhibit I marked for identification.)            14
15         MR. RIEDER: Okay. If you'll take a look at -            15
16     -                                                           16
17         Mary, what did we mark this one?                        17     A
18         THE REPORTER: This is Exhibit I.                        18
19 BY MR. RIEDER:                                                  19
20     Q    I. If you'll take a look at what's been                20     Q
21 marked as Exhibit I, please.                                    21     A
22     A    Okay. This is the one I heard about.                   22
23     Q    Okay. Yeah, so there's two incidences --               23     Q
24 instances, I'll say.                                            24
25         MR. CONWAY: And, Bill, this is confidential.            25


                                                              27                                                                 29

 1         MR. RIEDER: What's that?                                 1
 2         MR. CONWAY: This is a confidential document,             2
 3     for the record.                                              3     A
 4         MR. RIEDER: Oh. Got it. Okay.                            4     Q
 5 BY MR. RIEDER:                                                   5
 6     Q                                                            6     A
 7                                                                  7     Q
 8                                                                  8     A
 9                                                                  9     Q    What's FPPE and OPPE? What do those stand
10                                                                 10 for?
11     A                                                           11     A   FPPE is a focused -- oh, I don't know if I --
12     Q                                                           12         FPPE is a focused review providers get. All
13                                                                 13 new providers get this. And it means that they're
14     A                                                           14 monitored in some way; chart review or someone looking
15     Q                                                           15 over their shoulder until there is confidence that their
16                                                                 16 practice is safe and follows what we like them to
17                                                                 17 follow. And then they're released from FPPE.
18     A                                                           18         OPPE is the ongoing provider oversight. And
19     Q                                                           19 those are done every six months.
20                                                                 20         They're done by chart review of peers and peer
21                                                                 21 reviews that go through a peer review committee to
22     A                                                           22 ensure that the practice that was deemed stable at FPPE
23     Q                                                           23 continues in OPPE. And that's all monitored through the
24                                                                 24 medical staff executive committee.
25                                                                 25     Q
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 9 of 49

                          Brahm, Victoria          09-25-2018
                                        30                                                                 32

1                                             1
2     A        .                              2
3     Q                                       3
4     A
5     Q                                       5
6     A                                       6
7                                             7     Q    At some point, did you task Dr. O'Brien with
8                                             8 conducting a fact finding?
9     Q                                       9     A   Yes.
10    A   I                                  10     Q    And did he draft a report in response to your
11                                           11 tasking him with that?
12                                           12     A   Yes.
13    Q                                      13         MR. RIEDER: Okay. Mary, it's 1852.
14    A                                      14         (Brahm Exhibit J marked for identification.)
15                                           15         THE REPORTER: This is letter J.
16                                           16         MR. RIEDER: Okay.
17                                           17         MR. CONWAY: And, Bill, this is also
18                                           18     confidential?
19                                           19         MR. RIEDER: Okay.
20    Q                                      20 BY MR. RIEDER:
21                                           21     Q    Turn to page three, if you will. Take a
22    A                                      22 moment to orient yourself with the document and let me
23                                           23 know when you're familiar with it.
24                                           24     A   Okay.
25                                           25     Q    Do you -- how well do you know Dr. O'Brien?


                                        31                                                                 33

1                                             1     A   I worked with him at the VISN. Colegally, I
2                                             2 just know that he was our go-to for any dental issues in
3     Q                                       3 the region.
4     A                                       4     Q    What do you think of him as an investigator or
5     Q                                       5 a fact finder?
6     A                                       6     A   Well, I think he's got integrity; and I think
7     Q                                       7 he would -- and he's very good technically, so he would-
8                                             8 - I would trust his assessment.
9                                             9     Q
10    A                                      10
11    Q                                      11
12                                           12
13                                           13
14                                           14
15                                           15
16                                           16
17                                           17
18                                           18
19                                           19
20                                           20
21                                           21
22    Q                                      22     A
23                                           23     Q
24    A                                      24
25                                           25
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 10 of 49

                                            Brahm, Victoria             09-25-2018
                                                            34                                                                36

 1                                                                1     A    Roughly.
 2                                                                2     Q
 3                                                                3
 4                                                                4
 5                                                                5
 6                                                                6
 7                                                                7
 8                                                                8
 9                                                                9         Do you think there was adequate supervision in
10                                                               10 the dental clinic?
11                                                               11     A    It doesn't sound like it.
12     A                                                         12     Q    Okay. Do you think there was adequate
13                                                               13 training?
14                                                               14     A    Yes, absolutely.
15                                                               15     Q    Do you think that these employees were
16     Q                                                         16 adequately trained to report adverse incidents?
17                                                               17     A    I think the training was there, absolutely.
18     A                                                         18         They knew what to do. The fact that they
19     Q                                                         19 didn't do it is a culture issue.
20     A                                                         20     Q    You think it's a fear of reprisal,
21                                                               21 intimidation situation?
22                                                               22     A    That is what one of the dental assistants
23                                                               23 finally came forward with when we investigated this
24                                                               24 whole situation.
25                                                               25     Q    What do you think?


                                                            35                                                                37

 1                                                                1     A    I believe -- I believe her. I think that they
 2                                                                2 were afraid that -- at least she was afraid to come any
 3                                                                3 further for fear of reprisal.
 4                                                                4     Q    And you think that that's a training issue?
 5     Q                                                          5     A    I think it's a culture issue. And the
 6                                                                6 training helps. Psychological safety, I have an open
 7     A                                                          7 door policy myself. We've removed all the leadership.
 8     Q                                                          8 We have brand-new leadership in place that is open. We
 9                                                                9 walked through the area ourselves, you know. And that's
10     A                                                         10 one of the reasons when this second dental assistant
11                                                               11 came forward, that we actually visibly rewarded her
12                                                               12 because we've got to change that fear.
13                                                               13         So I think, you know, we were, what, less than
14                                                               14 a year in. After a year, all our employee survey
15                                                               15 results showed way -- I mean, we went from 77 to
16     Q    Do you know how long Dr. Schiller's improper         16 hospital out of, you know, approximately 139 to 48
17 infection control practices were alleged to have gone         17 hospital, in quality and best place to work. So I think
18 on?                                                           18 we're in the middle of shifting the right direction.
19     A   He said January of 20- -- January of 2016.            19         Unfortunately, not all these employees
20     Q    Until when?                                          20 apparently felt safe.
21     A   Until he was removed from the clinic, October.        21     Q    Right. And so -- and I'm including the time
22         It would be Oct- -- let's see, October '15 he         22 period and referencing the time period before you
23 came; January '16 until he was removed, roughly               23 arrived and up through the time that
24 October '17.                                                  24 Dr. Schiller was breaching these infection control
25     Q    So nine months, a year?                              25 standards and these employees were apparently aware of
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 11 of 49

                                              Brahm, Victoria            09-25-2018
                                                              38                                                                 40

 1 it. Do you think the VA's permitting of a culture of             1 through, I'll briefly go through this. So this is the
 2 fear to take place and to exist in the facility -- do            2 VA OIG inspection report. Have you seen that report?
 3 you think the                                                    3     A   Yes.
 4 VA then bears some responsibility for this incident?             4     Q    Okay. I'm going to read briefly from it. It
 5     A    I feel that the senior leadership of the                5 says, we identified two factors that contributed to the
 6 facility should take accountability and that is why they         6 facility of leadership not being aware sooner. Dentist
 7 are no longer here. I feel there is.                             7 A's improper of infec- -- excuse me --
 8     Q    All right.                                              8         THE REPORTER: I'm sorry. I can't understand.
 9     A    If I allowed that as the current director to            9     You're reading too fast.
10 occur, that would not be right. I feel like the                 10         MR. RIEDER: Okay. I'm sorry. I'm from the
11 director, chief of staff were highly accountable for            11     big city. We talk really fast.
12 this.                                                           12         MR. CONWAY: What city is that?
13     Q    So the VA employees' former leadership?                13         MR. RIEDER: Ready?
14     A    Yes. I think leadership has --                         14         THE REPORTER: Yes.
15     Q    All right.                                             15         MR. RIEDER: All right.
16     A    -- an obligation to create that culture.               16 BY MR. RIEDER:
17     Q    And they created a culture of fear and a               17     Q    We identified two factors that contributed to
18 culture of intimidation as opposed to a culture where if        18 facility leadership not being aware sooner of
19 you see something, you say something; if you see an             19         Dentist A's improper infection control
20 adverse event, you report it?                                   20 practices. These factors included: (1) failure of the
21     A    Correct.                                               21 staff, despite safety and infection control training, to
22     Q    Is that accurate?                                      22 report Dentist A's breach of infection control
23         Okay.                                                   23 practices. And then it goes on, (2) advance
24     A    Yes.                                                   24 notification and other issues associated with the Dental
25     Q    Do you think that would have prevented this            25 Clinic inspections.


                                                              39                                                                 41

 1 incident?                                                        1         THE REPORTER: Were you saying Dentist
 2     A    It would be a conjecture to say that; however,          2 A's?
 3 had people come forward, perhaps a look higher than              3         MR. RIEDER: Dentist A, yeah. So they're
 4 Marcantonio would have occurred. I don't know what Dr.           4     referred to in the report as Dentist A.
 5 Marcantonio reported up the chain.                               5         THE REPORTER: Okay.
 6         Certainly it did not get to my level.                    6         MR. CONWAY: Victoria, do you want to see that
 7     Q    So a look higher would have been Dr. Pica?              7     in writing?
 8     A    Yes.                                                    8         If that would be easier.
 9     Q    If Dr. Pica knew about this, you think she              9         MR. RIEDER: That's certainly fine.
10 would have let it go?                                           10         If you want to take a peek at it before we
11     A    No.                                                    11     discuss it.
12     Q    Okay. She would have prevented it?                     12         We've marked it before. Mary, it's the one
13     A    I think so. She has a lot of integrity.                13     with the big seal on it. It says healthcare
14     Q    Do you know if Dr. O'Brien's -- strike that.           14     inspection.
15         Do you know if Dr. O'Brien conducted                    15 BY MR. RIEDER:
16 inspections at the dental clinic?                               16     Q    So it starts on the bottom of page six and
17     A    That is required. I don't know how often. At           17 goes over to page seven. Just take all the time you
18 least, annually the VISN is supposed to be looking at           18 need to familiarize yourself with it.
19 that dental clinic. And there -- I know that they did           19     A   Okay. I'm familiar.
20 have a dental inspection while I was here. Dr. O'Brien          20     Q    So the OIG apparently in investigating this
21 met with me once to go over some dental findings.               21 incident determined that Dr. O'Brien announced his --
22     Q    Do you know if his inspections were announced          22 when his inspections were going to take place. Do you
23 or unannounced?                                                 23 think that if his inspections had not been announced,
24     A    I don't know.                                          24 Dr. Schiller's actions could have been uncovered
25     Q    Instead of giving you another document to read         25 earlier?
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 12 of 49

                                               Brahm, Victoria             09-25-2018
                                                              42                                                                 44

 1          MR. CONWAY: Objection, assumes facts.                   1      Q    At some point while working for the VA, did
 2          Go ahead.                                               2 you become concerned about David Houlihan's actions?
 3          THE WITNESS: It's possible that they would              3      A   Yes, I did.
 4      have found his burs, his personally owned                   4      Q    Did you raise it up the chain of command?
 5      equipment, because that's part of any inspection is         5      A   Yes, I did.
 6      to look for personally owned equipment.                     6      Q    Who did you tell?
 7 BY MR. RIEDER:                                                   7      A   I told the network director of VISN 12.
 8      Q    So, yeah, it's possible?                               8      Q    At some point did you say that wasn't -- you
 9      A   It's possible.                                          9 didn't have enough evidence to say he was really going
10      Q    Okay. How about his lack of use of personal           10 to kill something -- someone; it wasn't strong enough to
11 protective equipment? Is that something else they may           11 say, I'm calling the press.
12 have seen?                                                      12          Did you say that?
13      A   They may have. It's my understanding, though,          13      A   I don't remember quite saying that. I asked
14 that, at this point, after looking at this, that the            14 for an investigative board. I was told that the
15 staff often reminded him, so I don't know if they would         15 evidence was not strong enough.
16 have seen him not do it, or if the staff would --               16      Q    All right. Lori Cleaver claims that she went
17      Q    You're talking about the inspections? Or              17 to
18 they--                                                          18 Sara Wagner, who she thought was her supervisor, and
19      A   No --                                                  19 Sara Wagner said he'll get caught sooner or later. Is
20      Q    -- would remind him to --                             20 that your understanding?
21      A   Remind him to put on your gown, or reminded            21      A   Yes, I believe she did say that.
22 him afterward. After finding out about this, I did some         22      Q    Okay. Was that kind of what happened to you
23 inquiry to find out how could this happen.                      23 when you tried to get David Houlihan ousted?
24          And I guess there was -- I was told there was          24      A   Well, I didn't sit and do nothing. I actually
25 quite a bit of nagging going on, like, please do this,          25 took other mechanisms, launched focused peer reviews.


                                                              43                                                                 45

 1 please put your gloves on, so I'm not sure the staff let         1 There were multiple actions that I took.
 2 him get away with it, but they didn't report it up.              2      Q    When did he finally get removed? Was it after
 3      Q    Right.                                                 3 Jason Simcakoski passed away?
 4          So they knew about it for a long period of              4      A   Yes.
 5 time?                                                            5      Q    Why didn't you feel like you could call the
 6      A   I don't know how long, but apparently -- well,          6 press?
 7 apparently. I don't know exactly how long he was not             7      A   I did move it up my chain of command. And,
 8 doing this, but he did admit he was using his burs since         8 actually, Dr. Murawsky, technically, if you look at peer
 9 January.                                                         9 reviews, his peer reviews did not come back with a large
10      Q    Do you think the VA should have fired                 10 number of level threes, which would have been strong
11 Dr. Schiller once it became apparent that he was                11 enough to launch administrative boards. So it was a
12 breaching these infection control standards?                    12 call. My gut instinct was that we had a bad trend here.
13      A   Absolutely.                                            13          So what we did is move forward, a group of us,
14      Q                                                          14 and we instituted new policies at
15      A                                                          15 Tomah which would prevent Dr. Houlihan from being able
16      Q                                                          16 to do things like early refills of narcotics, which
17                                                                 17 would require him to do urine drops, which would put him
18      A                                                          18 in the limelight so he wouldn't be able to, you know, do
19      Q                                                          19 the practice that, you know, we were concerned he may be
20                                                                 20 doing until we could get enough evidence.
21      A                                                          21          Our evidence just wasn't strong enough. It
22      Q    Do you think she bears some responsibility for        22 was a kind of a feeling that the trend was in a wrong
23 this?                                                           23 direction. There were multiple complaints from
24      A   She bears responsibility, but she did report           24 employees. We did work with the IG very closely, too.
25 it to who she thought was a lead.                               25 And I let them know everything that was occurring.
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 13 of 49

                                            Brahm, Victoria              09-25-2018
                                                              46                                                                 48

 1     Q    Do you know where Dr. Schiller is now?                  1         You want to object, that's certainly fine and
 2     A   No.                                                      2     I'll continue with my examination; we can have it
 3     Q    Do you think that opioid overprescription is            3     ruled on later, but I'm not -- I'm telling her, in
 4 still an issue at the Tomah VA?                                  4     light of these facts -- fine, forget these facts.
 5     A   No.                                                      5 BY MR. RIEDER:
 6     Q    I'm looking for another document.                       6     Q    I just want to know if anybody investigated
 7         Would it surprise you if I told you that Dr.             7 whether or not he filled any prescriptions for himself
 8 Schiller's license was suspended for unlawful use,               8 at the Tomah VA.
 9 abuse, and possession of pain killers and anxiety                9     A   We have strict oversight of our narcotics, so
10 medicine?                                                       10 he can't -- he can't fill any for himself. That would
11     A   When? Before this incident? Yes, it would               11 have been noted. We have so many levels of oversight of
12 surprise me.                                                    12 our opioid. And, if he would have tried to fill one for
13     Q    After this incident.                                   13 himself, I'm sure that would have been caught.
14         After the incident. Did you hear me?                    14     Q    Did he have sufficient permission and
15     A   Yes, I did.                                             15 credential to write prescriptions?
16         Yeah, I guess I'm surprised.                            16     A   I don't know his privileges offhand, but he
17     Q    Okay. Has anybody looked into whether                  17 would have strict dental privileges and whatever
18 Dr. Schiller filled any prescriptions for himself at the        18 medications would go along with the dental service. And
19 Tomah VA?                                                       19 if he was not doing -- it depends on the procedures he
20         MR. CONWAY: I'm going to object on relevance            20 was doing, what he would be able to order, so that would
21     grounds. You know, I'm not sure where you're going          21 be a privilege question. And I'm not -- I don't know
22     on this.                                                    22 his privileges.
23         MR. RIEDER: Well, okay. You can object, but,            23     Q    As a nurse, do you think that sleeping during
24     subject to me continuing to --                              24 work hours could be a symptom of the use or abuse of
25         MR. CONWAY: Yeah, but I'm going to start                25 pain medication or anxiety medication?


                                                              47                                                                 49

 1     objecting more strenuously unless there's a clear            1     A   It could be a lot of things. It could be.
 2     tie to this case.                                            2     Q    It could be?
 3         MR. RIEDER: Well, I think the tie is pretty              3     A   It could be. It could be a lot of things.
 4     clear. It's been noted in multiple investigations            4     Q    Were you aware that Dr. Schiller was on the
 5     and the media that there was an opioid issue at the          5 pain committee?
 6     facility. Dr. Schiller, who was apparently                   6     A   I wasn't.
 7     sleeping at his desk during clinical hours and               7     Q    What is the pain committee?
 8     breaching infection control standards for over a             8     A   We have a couple of committees. One committee
 9     year, has now lost his license or has his license            9 is the pain committee and the oversight pain protocols,
10     suspended because of the use of, and abuse of,              10 pain guidelines, pain policies for the hospital. They
11     multiple medications, including pain medicine and           11 work very closely with the opioid safety committee,
12     anti-anxiety medicine, so I just want to know if he         12 which looks at any case of opioids that are bad
13     filled any of those prescriptions at the Tomah VA;          13 combinations or high doses.
14     maybe it's something that the Tomah VA should have          14     Q    And he was on that committee?
15     investigated. So do we know the answer if anybody           15     A   He was on the pain committee. I don't know
16     investigated that?                                          16 that he was on the opioid committee; two different
17         MR. CONWAY: Objection. You're putting a                 17 committees.
18     bunch of facts out there and asking her to assume           18     Q    Who would know that?
19     they're true and answer your question. If you want          19     A   Stacy Williams is our chair of both of those
20     to show her a document, if you want to show her             20 committees. She's the associate director.
21     evidence, go ahead, but --                                  21     Q    Were you aware that he was on the infection
22         MR. RIEDER: Yeah, that's -- okay.                       22 control committee?
23         Now, that's why I instructed her not to answer          23     A   I wasn't.
24     because here it's indicated there's not a proper            24     Q    And that he was supposed to be overseeing hand
25     basis for you to instruct her not to answer.                25 hygiene. Had you heard that before?
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 14 of 49

                                                Brahm, Victoria          09-25-2018
                                                              50                                                                 52

 1      A   I don't think -- I don't remember hearing               1 letter out to the veterans?
 2 that.                                                            2     A   Many things happened immediately upon knowing
 3          It only lets me know he should have known               3 this so protocol was followed. Dentist immediately
 4 better then.                                                     4 removed. We had to actually do a risk assessment and an
 5      Q    Do you know who appointed him or how he got on         5 investigation to show what the risk was. After the full
 6 the infection control committee and the pain committee?          6 risk assessment was completed, central office has
 7      A   No.                                                     7 experts that look at this as well to make sure that when
 8      Q    How does that -- how does someone generally            8 we say it's low risk or very low risk, you know, we were
 9 get appointed or become a member of the committee?               9 saying something that we could back up with evidence.
10      A   Well, usually the chair -- each committee has          10     Q    So you were saying it was very low risk or --
11 a charter. And, based on the charter, they're                   11     A   This one says low risk.
12 recommended members. So if, for instance, they wanted--         12     Q    -- we believe your risk of infection is low,
13 the chair felt there needed to be a representative from         13 you believe that as of November 29, 2016?
14 dental, the dental chief would be contacted and asked           14     A   Absolutely.
15 for a member.                                                   15         MR. RIEDER: Mary, will you mark 4167?
16      Q    Dr. Marcantonio?                                      16         (Brahm Exhibit L marked for identification.)
17      A   Right.                                                 17         MR. CONWAY: It looks like we have a
18      Q    Do you know if anyone from the dental clinic          18     confidential document, Bill.
19 ever advised anybody from the infection control                 19
20 committee that Dr. Schiller was breaching infection             20 BY MR. RIEDER:
                                                                   21     Q    Okay. Please turn to page three, take a
21 control standards on an ongoing basis?
                                                                   22 moment to orient yourself with it, and let me know when
22      A   Not that I'm aware of.
23          MR. RIEDER: All right. Mary, if you'll grab            23 you're familiar, please.

24      that letter that says Department of                        24     A   Okay. I read it.
25 Veterans Affairs on top, let's mark that as the next            25     Q



                                                              51                                                                 53

 1 exhibit, please.                                                 1     A
 2          (Brahm Exhibit K marked for identification.)            2
 3 BY MR. RIEDER:                                                   3
 4      Q    All right. Just take moment to orient                  4
 5 yourself with the letter and let me know when you're             5
 6 familiar with it.                                                6
 7      A   I'm familiar with the letter.                           7
 8      Q    Did you draft the letter?                              8
 9      A   A group of us worked together to draft the              9
10 letter. We had to get approval from central office on           10     Q
11 what we were going to send out and work with public             11
12 affairs, so I didn't write it myself; I was part of it.         12
13      Q    Is that your signature at the end of it?              13     A
14      A   Yes.                                                   14     Q
15      Q    Who else worked on it?                                15
16      A   Public affairs, our public affairs officer.            16
17 The central office reviewed it. The VISN reviewed it.           17
18      Q    Did you consult with a lawyer?                        18
19      A   I'm sure general counsel reviewed it.                  19
20      Q    What is the -- what's the date on the letter?         20     A
21      A   November 29.                                           21     Q
22      Q    When did you first learn about the infection          22
23 control breaches in the dental clinic?                          23     A
24      A   October 21.                                            24     Q
25      Q    Why did it take more than a month to send a           25
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 15 of 49

                                             Brahm, Victoria             09-25-2018
                                                              54                                                                 56

 1     A                                                            1     Q    Emotional distress?
 2     Q                                                            2         MR. CONWAY: Objection, calls for speculation.
 3                                                                  3 BY MR. RIEDER:
 4                                                                  4     Q    You can answer the question.
 5                                                                  5     A    Some people. I can't speak for --
 6     A                                                            6     Q    Would you have been distressed upon learning
 7     Q     So on November 29, you guys had information            7 that you may have been exposed to deadly viruses?
 8 stating that the risk was high, didn't you?                      8     A    See, I knew more details. Being a nurse, I
 9     A    We had information, newer information stating           9 know the details that the bur actually doesn't break
10 the risk was low. We had a local risk assessment that           10 tissue. In very, very, very few cases, the risk is so
11 was approved and done by experts as well. So that is            11 low. I would have probably had high emotional distress
12 not in here. And that went through big detail about --          12 knowing the facts. Now, lay people not knowing the
13 and everything was deemed low risk and very low risk.           13 facts, you know, it's a different story.
14     Q     Who drafted that?                                     14     Q    Would you have gotten tested?
15     A    That was done by our infection control people          15     A    Yes.
16 here, Melissa Moore was the key author.                         16     Q    Yes, you would have?
17     Q     Melissa Moore's report was done on                    17     A    I would have. Why not?
18 October 21, 2016, wasn't it?                                    18         MR. RIEDER: Mary, 1678. If you could find
19     A    I don't know the date of the report offhand.           19     that one, I believe we referred to earlier.
20     Q     Here. I'll grab it for you.                           20         (Discussion off the record.)
21     A    Keep in mind that many meetings occur here and         21         MR. CONWAY: Again, confidential.
22 then key experts weigh in, so more information was              22         MR. RIEDER: Yes.
23 known. By the time we wrote the letter, we knew it was          23 BY MR. RIEDER:
24 low and very low.                                               24     Q    If you'll look at what's been marked as
25     Q     Well, the letter doesn't say very low, though,        25 Exhibit A, please turn to Page 10, and let me know when


                                                              55                                                                 57

 1 does it?                                                         1 you're familiar with it.
 2     A    There were two different letters. One that              2     A    Okay. I'm familiar.
 3 went to patients that had bridge and crown work who were         3     Q    Okay. Is this the report you were talking
 4 low risk; and one who went to patients that had no               4 about from Melissa Moore, the risk assessment?
 5 bridge or crown work and they were very low risk.                5     A    Yeah, this is.
 6     Q     Is that the only change in the letter? One             6     Q    Okay. What was the date on this?
 7 said low, one said very low?                                     7     A    10-31. I think one needs to note, too, that
 8     A    To my knowledge, yes. They were all offered             8 more information comes to light; for instance, the fact
 9 the same labs, the same followup. What we were trying            9 that the virus was used, so there was, like, no -- there
10 to do was be extremely transparent so that we could try         10 wasn't, like, no sterilization. More and more
11 and allay the fear as much as possible.                         11 information kept coming to light.
12     Q     Do you think that made a big difference to            12     Q    Is it 10-31 or 10-21?
13 somebody receiving a letter, whether it said very low or        13     A    Oh, let me look again. I'm getting old. 10-
14 low risk in terms of them having been infected to a             14 31 -- oh, this is Dr. O'Brien. Okay.
15 deadly virus?                                                   15     Q    I'm on page ten.
16     A    No. I think what could allay the fear is the           16     A    Oh, 10-21; gotcha.
17 fact that we offered all the testing for free, as well          17     Q    Okay. So were you aware of any risk
18 as genomic testing to assure that they did not contract         18 assessments that were reduced to writing in an event
19 anything. It's better than doing nothing.                       19 between 10-21 and November 7 when the CERT issued this
20     Q     It's definitely better than doing nothing, but        20 report?
21 would you say that my fear -- or, that someone's fear           21     A    There was much information. There may not
22 would be allayed that they may have been exposed to a           22 have been a formal risk assessment, but lots of
23 deadly virus because they were offered free testing?            23 discussion about risk, and what was done, what wasn't
24     A    No, I'm sure anxiety would be present in some          24 done, and what was the risk. So when we wrote the
25 people.                                                         25 letter, we were told that it was low risk and very low
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 16 of 49

                                           Brahm, Victoria             09-25-2018
                                                             58                                                            60

 1 risk.                                                          1 have been exposed to a deadly virus?
 2     Q                                                          2        MR. CONWAY: Objection, asked and answered.
 3                                                                3 BY MR. RIEDER:
 4                                                                4    Q    You can answer.
 5                                                                5    A   Yes.
 6                                                                6    Q    Okay. Do you think their spouses and loved
 7                                                                7 ones would be frightened?
 8     A                                                          8        MR. CONWAY: Objection, calls for speculation.
 9                                                                9        THE WITNESS: Yes, they could be.
10                                                                10 BY MR. RIEDER:
11                                                                11   Q
12                                                                12
13                                                                13
14                                                                14
15                                                                15   A
16     Q                                                          16   Q
17                                                                17   A
18     A                                                          18
19                                                                19
20                                                                20
21                       .                                        21
22     Q                                                          22
23                                                                23   Q
24     A                                                          24   A
25                                                                25


                                                             59                                                            61

 1                                                                1
 2                                                                2
 3                                                                3
 4     Q                                                          4
 5                                                                5
 6     A                                                          6
 7     Q   All right. Taking a look back at this letter,          7    Q
 8 the one that went out to the veterans, the second              8
 9 sentence, it says this letter is to inform you that            9
10 established infection control practices were not being         10
11 followed by the dentist that treated you. Is that true?        11   A
12     A   Yes.                                                   12                                             ,
13     Q   Turn over to the second page. The first                13
14 sentence in the last paragraph, could you read that for        14
15 me?                                                            15
16     A   As the acting medical center director, let me          16
17 sincerely apologize for the concern that this                  17   Q
18 notification may bring to you and your family.                 18
19     Q   You knew you were delivering bad news --               19
20     A   Yes.                                                   20
21     Q   -- correct?                                            21
22     A   Yes.                                                   22
23     Q   You knew they'd be frightened?                         23   Q
24     A   It could be frightening, yes.                          24   A
25     Q   It could be frightening to learn that you may          25
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 17 of 49

                           Brahm, Victoria          09-25-2018
                                         62                                                                 64

1                            .                 1
2      Q                                       2
3                                              3
4      A                                       4     Q
5                                              5
6      Q                                       6
7                                              7
8      A                                       8     A
9                                              9
10                                            10     Q
11     Q                                      11     A
12     A                                      12         MR. RIEDER: Okay. Just give me one minute.
13                                            13     Let me look at my notes. I think we're about done.
14                                            14         All right. Thank you, Ms. Brahm.
15                                            15         I've got no further questions.
16                                            16         THE WITNESS: Thank you.
17                    .                       17         MR. CONWAY: I might have a few questions,
18     Q                                      18     though I just need a -- just a minute to look at my
19                                            19     notes quickly.
20     A                                      20         MR. RIEDER: Then I may have more questions.
21     Q                                      21         (Discussion off the record.)
22     A                                      22 BY MR. CONWAY:
23                                            23     Q    Ms. Brahm, at the beginning of the deposition,
24                                            24 I think you made a comment along the lines of there was
25                                            25 a negligent dentist and I think you were referring to


                                         63                                                                 65

1      Q                                       1 Dr. Schiller. Do you recall saying something like that?
2      A       .                               2     A   Yes.
3      Q                                       3     Q    Now, you're not a legally trained individual,
4                                              4 correct?
5      A                                       5     A   No.
6                                              6     Q    So when you use the term negligent, you don't
7                                              7 understand the meaning that --
8 -                    .                       8     A   No, I don't.
9      Q                                       9     Q    So you're not aware of the meaning of
10     A                                      10 negligence within the context of the legal world. Is
11                                            11 that fair to say?
12     Q                                      12     A   Yes.
13     A                                      13     Q    Okay. I think you also made a comment about
14                                            14 how maybe it sounded like Dr. Marcantonio provided
15                                            15 inadequate supervision in the dental clinic. Do you
16                                            16 recall saying something along those lines?
17                                            17     A   Yes.
18                                            18     Q    Now, you don't know firsthand what type of
19     Q                                      19 supervision Dr. Marcantonio specifically provided during
20     A                                      20 Dr. Schiller's tenure. Is that fair to say?
21                                            21     A   Yes.
22     Q                                      22     Q    You also mentioned that -- I think there was
23     A                                      23 something about there was somewhat of a toxic culture in
24     Q                                      24 the VA when you arrived. And that may have affected why
25     A                                      25 certain employees in the dental clinic didn't report
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 18 of 49

                                              Brahm, Victoria             09-25-2018
                                                               66                                                               68

 1 this conduct, this alleged conduct sooner. Do you                 1       She can have --
 2 remember that?                                                    2       MR. RIEDER: I didn't understand.
 3       A   Yes.                                                    3       Okay. Well, I move to strike the first answer
 4       Q    Again, you don't know what the particular              4    because I didn't understand what her answer was, so
 5 employees at issue in this case were thinking at the              5    I'm asking again.
 6 time or you don't have firsthand knowledge of that. Is            6       MR. CONWAY: Wait. You're striking a witness'
 7 that correct?                                                     7    answer because you didn't like it?
 8       A   Correct. I can't definitively say there was a           8       MR. RIEDER: No, I didn't say I didn't like
 9 correlation.                                                      9    it. I said I didn't understand it.
10           MR. CONWAY: That's all I've got, Bill.                 10       MR. CONWAY: Would you like to hear it again?
11                EXAMINATION                                       11       MR. RIEDER: I'd like to hear what she has to
12 BY MR. RIEDER:                                                   12    say. Let's just hear from the witness.
13       Q    Okay. I've got a question. Ms. Brahm, what            13       The rules don't provide for this kind of back
14 do you think negligent means?                                    14    and forth. She can give me an answer and we'll let
15       A   I know what I meant to say. My intent was              15    it stand.
16 that this dentist knew our policies and purposely did            16       MR. CONWAY: My objection stands.
17 not follow them.                                                 17       MR. RIEDER: Yup.
18       Q    Okay. What do you think negligent means, just         18       THE WITNESS: My answer was that negligence in
19 generally speaking?                                              19    this case was defined by this dentist not following
20       A   Well, negligent means didn't -- well, didn't           20    policies that he knew to be present. He didn't
21 follow the right procedures; did something that you knew         21    follow policy, so I was defining that as
22 better than to do.                                               22    negligence.
23           I'm not making sense.                                  23       MR. RIEDER: All right. Fair enough.
24       Q    So your definition of negligent is to do --           24       No further questions.
25 is,                                                              25       MR. CONWAY: Okay. And, Ms. Brahm, the rules


                                                               67                                                               69

 1 I'm sorry, what is it again?                                      1    allow you, if you elect to do so on the record, a
 2           MR. CONWAY: Objection, asked and answered.              2    30 day period to review your transcript once it
 3           THE WITNESS: I think there's probably --                3    becomes available and to revise it as needed upon
 4           MR. RIEDER: I'm not sure that I understood              4    your review. But you have to elect whether you
 5       the first answer, so I want to hear the second one.         5    want to do so on the record if you'd like to.
 6           MR. CONWAY: Can you read it back to him,                6       THE WITNESS: Yes, I do.
 7       please?                                                     7       MR. CONWAY: That's all we've got.
 8           MR. RIEDER: No, no, I want to hear what she             8       MR. RIEDER: All right. Thank you for your
 9       has to say. Your objection is asked and answered;           9    testimony, Ms. Brahm.
10       noted for the record.                                      10       (Whereupon, the deposition of
11           THE WITNESS: I failed --                               11 Victoria Brahm was terminated.)
12           MR. CONWAY: Do you want to hear your previous          12
13       answer back?                                               13
                                                                    14
14           THE WITNESS: Sure.                                     15
15           MR. RIEDER: Well, well, just a minute, just a          16
                                                                    17
16       minute. Now we're entering the realm of coaching.
                                                                    18
17       I don't want this to degenerate. Everything's been         19
18       very nice which is nice, but I'd like to hear what         20
                                                                    21
19       your counsel has objected for the record this is
                                                                    22
20       asked and answered. I'd like to hear what your             23
21       definition of negligence is. Since you elected to          24
                                                                    25
22       say that he was a negligent doctor, I didn't ask
23       you --
24           MR. CONWAY: Bill, she's giving you an answer
25       point blank to that very same question.
   Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 19 of 49

                                             Brahm, Victoria       09-25-2018
                                                              70

 1             CERTIFICATE OF REPORTER
 2 UNITED STATES DISTRICT COURT
 3 FOR THE WESTERN DISTRICT OF WISCONSIN
 4
 5     I, Mary P. Hader, Registered Professional
   Reporter and CSR, certify:
 6 That the foregoing proceedings were taken before me at
   the time and place therein set forth, at which time the
 7 witness was put under oath by me;
   That the testimony of the witness, the questions
 8 propounded, and all objections and statements made at he
   time of the examination were recorded stenographically
 9 by me and thereafter transcribed;
   That a review of the transcript by the deponent was
10 requested; That the foregoing is a true and correct
   transcript of my shorthand notes so taken.
11 I further certify that I am not a relative or employee
   of any attorney of the parties, nor financially
12 interested in the action.
13     I declare under penalty of perjury under the laws
   of Wisconsin that the foregoing is true and correct.
14
15     Dated this 10th day of OCTOBER, 2018.
16
17
18
19
20 __________________________
   Mary P. Hader, RPR, CSR
21
22
23
24
25
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 20 of 49

              Brahm, Victoria     09-25-2018            Page 1 of 30

       $                                   37 11:17                    45:15,18
$100,000.00                2                                           48:20 61:24
                                           3815A 1:18
  23:19              2 40:23
                                                                  about 8:5,12
  25:13,15,17        2:40 1:19                   4                  12:6 15:18,25
  26:1,8                                                            16:23 17:22
                     20 35:19              4:00 1:19
$2,500.00 26:6                                                      20:10,24
                     200 19:1              408 1:18                 26:22 27:25
  27:10
                     2004 12:14,16         4167 52:15               28:23 31:22
      1              2006 12:16,17         48 37:16                 34:21 39:9
                                                                    42:10,17,22
1 40:20              2015 12:24                                     43:4 44:2
10 56:25 57:13         14:20 18:24                  5
                                                                    51:22 54:12
                                           5 3:3                    57:4,23 64:13
10-21                2016 4:7 35:19
  57:12,16,19          52:13 53:12         500 1:18                 65:13,23
  58:2                 54:18 58:2          51 4:7                 above-entitled
10-31 57:7,12        2018 1:19 5:2         52 4:8                   1:16
10th 70:15             70:15                                      absolutely
                                           53089 5:14
                     21 51:24 54:18                                 17:16 26:3
12 11:19 44:7                              53703 2:9                32:4 36:14,17
  53:15              222 2:9
                                                                    43:13 52:14
12-21 58:14          25 1:19 5:2                    6             abuse 46:9
13 4:3                 12:9                6 5:16                   47:10 48:24
139 37:16            26 4:5                67 3:5                 accorded 26:7
15 15:4 35:22        2655 18:11            69 3:5,6               according
16 35:23             2665 18:12,13                                  27:16
                     2667 18:17                  7
1678 56:18                                                        accordingly
                                           7 53:12 57:19
                     29 4:7 51:21                                   34:7 35:14
17 35:24                                   700 2:9
                       52:13 54:7                                 accountability
17-CV-823 1:2                              72 3:6                   38:6
                     29th 54:1
18 4:4                                     77 37:15               accountable
1852 32:13                 3                                        38:11
1855 33:24           30 69:2                     9                accurate 14:10
                     307 2:4               90 30:11 34:23           15:16 18:6
1958 5:16
                                           9-20-16 58:3             21:6 22:8
1981 12:11           31 57:14
                                                                    31:9 38:22
                     32 4:6                937 24:23
1997 27:7                                                         accurately
1998 27:13           3250 2:4                                       53:21
                                                 A
1999 27:13           33133 2:4             able 15:19             accused 23:24
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 21 of 49

               Brahm, Victoria   09-25-2018          Page 2 of 30
across 16:11         advised 50:19           30:24 31:19            70:11
act 9:22             affairs 50:25           32:6 33:9           AMERICA 1:10
                                             37:7,14,19
acting 7:24            51:12,16                                  amount 25:22
                                             38:8,15 40:15
  12:21 30:16        affected 65:24          41:17 44:16         amounts 20:20
  59:16              afraid 37:2             50:23 51:4
                                                                 anesthesia
action 1:16                                  52:25 53:6
                     after 8:13                                    28:4,7
  35:7 70:12                                 55:8,17 59:7
                       19:10                                     announced
                                             60:17,25 61:3
actions 7:2            27:12,23                                    39:22
                                             63:13 64:3,14
  41:24 44:2           33:12 37:14                                 41:21,23
                                             66:10 68:23
  45:1                 42:14,22 45:2
                                             69:7,8 70:8         annually 39:18
actively 13:11         46:13,14 52:5
                       60:17               allay 55:11,16        another 7:17
actual 8:8                                                         39:25 46:6
                     afterward             allayed 55:22
  28:15                                                            60:24
                       42:22               allegation
actually 12:16                                                   answer
                     again 16:9              6:11
  17:20 25:6                                                       8:16,18,21,25
  26:9 27:15           27:13 28:17         allegations
                       56:21 57:13                                 47:15,19,23,2
  37:11 44:24                                6:13,14,15,18
                       66:4 67:1                                   5 56:4 58:20
  45:8 52:4                                  7:22
                       68:5,10                                     60:4
  56:9 58:8,25                             allege 9:8              67:5,13,24
  63:14              against 6:11                                  68:3,4,7,14,1
                                           alleged 35:17
acute 62:13            7:22 9:5                                    8
                                             66:1
                       14:23 15:8
added 58:15                                alleging 27:9         answered 60:2
                     agree 16:4                                    67:2,9,20
addendum 54:2          29:2 35:5,9         allow 69:1
  58:15                                                          anti-anxiety
                     ahead 19:9            allowed 38:9
addition 12:20                                                     47:12
                       24:22 42:2          along 48:18
                       47:21                                     anxiety 46:9
address 5:12                                 64:24 65:16           48:25 55:24
adequate             aid 62:3              also 12:17            any 6:10 8:22
  36:9,12            all 1:7 8:14            25:11 30:25           9:19 10:18
adequately             9:4,21 10:12          32:17                 11:15 12:12
  36:16                11:3,15 13:16         65:13,22              13:3
                       14:3 15:2,25        Alto 62:24              20:4,6,16
administrative
                       16:14,15              63:1,4,21             21:8 22:9,13
  45:11
                       17:14,16                                    23:5,14,21
admit 43:8             18:21               always 30:18
                                             33:14                 25:3,12,18
advance 40:23          23:14,18                                    26:3 33:2
                       24:22 25:23         am 5:18,20              35:1 37:2
adverse 23:5
                       28:20                 14:2,24 31:25         42:5 46:18
  36:16 38:20          29:12,23                                    47:13 48:7,10
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 22 of 49

               Brahm, Victoria    09-25-2018         Page 3 of 30
 49:12 53:4          approval 4:5            37:10 62:23         away 8:8
 57:17 62:3,7          35:3 51:10          assistants              17:8,10 43:2
 63:1,8,15           approved 54:11          36:22                 45:3
 70:11
                       59:1                associate
anybody                                                                 B
                     approximately           21:14 22:11
  10:7,10 46:17                                                  back 45:9 52:9
                       37:16                 49:20
  47:15 48:6                                                       59:7 63:3
  50:19 61:19        area 20:15            associated              67:6,13 68:13
                       37:9                  40:24
anymore 14:17                                                    background
  24:14              areas 14:14           assume 20:1             12:6 15:1
                       20:14                 47:18                 23:2
anyone 50:18
                     aren't 11:8           assumes 42:1          bad 45:12
anything 10:9
                     around 61:15          assure 55:18            49:12 59:19
  24:13 55:19
  58:7               arrived 37:23         attached              ballpark 6:5,7
apologize              65:24                 4:11,12             based 25:21
  59:17              article 4:3           attempting              34:10 50:11
apparent 43:11         13:18 14:2,20         10:10               Basically
                       15:3                attorney                16:10
apparently
  37:20,25           A's 40:7,19,22          2:3,7,8 70:11       basis 47:25
  41:20 43:6,7         41:2                ATTORNEY'S 2:7          50:21
  47:6               ask 7:11                                    bears 38:4
                                           author 54:16
appear 27:19           8:15,20 67:22                               43:22,24
                                           authorized
APPEARANCES          asked 18:3              58:10               became 43:11
  2:1                  44:13 50:14
                                           authorizing           because 9:12
                       60:2
appears 10:13                                13:7                  15:19 16:19
                       67:2,9,20
  27:15                                                            18:6 19:4
                     asking 47:18          available 69:3
applicant                                                          21:5 26:9
                       61:23 68:5          Avenue 2:9              28:1,8 37:12
  28:15,19
                     assessment            awarded 23:15           42:5 47:10,24
application                                                        55:23 58:18
                       33:8 52:4,6           25:22 26:7,8
  25:19,24 26:4                                                    63:13 68:4,7
                       54:10 57:4,22       aware 9:4
applied                                                          become 44:2
                     assessments             23:2,5
  20:18,25                                                         50:9
                       34:23 57:18           34:14,16,20
applying 25:19                               36:5 37:25          becomes 69:3
                     assist 62:7
appointed                                    40:6,18             before 1:17
                     assistance              49:4,21 50:22
  50:5,9                                                           6:1 8:16 9:1
                       6:16 53:8             57:17 60:11
appointment                                                        10:18 11:16
                     assistant 2:8           65:9
  27:21                                                            20:10,11
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 23 of 49

               Brahm, Victoria    09-25-2018         Page 4 of 30
 24:25 37:22         bodies 13:14          Building 1:18            47:2 49:12
 41:10,12            both 49:19            bullying 14:15           53:16 61:19
 46:11 49:25                                                        66:5 68:19
 60:16 70:6          bottom 18:17          bunch 47:18
                                                                 cases 6:10
                       19:19 29:4          bur 56:9 63:11
begin 8:16                                                         20:5 25:12
                       41:16 54:3
beginning                                  burs 42:4 43:8          26:1 56:10
                     boundaries
  64:23                                    business 12:17        caught 44:19
                       18:25
behalf 1:7                                                         48:13
                     box 28:13
  2:2,5                                           C              cause 28:7
                     Brahm 1:15 3:2        call 13:15
believe 23:7                                                     causing 6:23
                       4:3,4                 26:4 30:15
  25:9,12 26:1                                                   center 1:18
                       5:1,4,11              45:5,12 53:2
  31:24 37:1                                                       4:3 5:22,24
                       13:19,22,24
  44:21                                    called 5:5              9:6
                       14:7,8
  52:12,13 53:5                              20:23 26:12           13:8,15,20
                       18:5,14,23
  56:19 63:2                               calling 44:11           14:21 15:4
                       26:14 32:14
best 37:17             51:2 52:16                                  59:16
                                           calls 31:13
bet 62:24              64:14,23              56:2 60:8           central
                       66:13 68:25                                 51:10,17 52:6
better 9:23            69:9,11             came 8:10 13:1
  10:4 17:13                                                       53:1,3 59:1
                                             18:23 19:3
  50:4 55:19,20      brand-new 37:8                              CERT 4:8 53:2
                                             20:12 35:23
  66:22              breach 36:6             36:23 37:11           54:3 57:19
between 57:19          40:22                 61:13 63:3            58:9,10,16,25

big 40:11            breached 10:5         can 6:4 7:8,9         certain 10:25
  41:13 54:12        breaches 51:23          8:17,20 14:24         22:5 65:25
  55:12                                      16:17,21            certainly 8:22
                     breaching 9:25          17:18 24:3,4
Bill 16:8 24:3                                                     28:6 39:6
                       37:24 43:12           46:23 48:2
  26:25 32:17                                                      41:9 48:1
                       47:8 50:20            56:4 60:4,21
  52:18 66:10                                63:14 67:6          CERTIFICATE
                     break 8:22,24
  67:24                                      68:1,14               70:1
                       9:1 24:3 56:9
birth 5:15                                 can't 19:16           certify
                     bridge 55:3,5
bit 42:25                                    40:8 48:10            70:5,11
                     briefly 33:25
blank 67:25                                  56:5 66:8           chain 34:15
                       40:1,4
                                           care 8:11 14:7          39:5 44:4
blood 62:18          bring 19:16                                   45:7
                       59:18               carries 54:5
board 23:9                                                       chair 30:14,16
  44:14              brought 8:8           case 1:2                49:19
boards 45:11           14:5 26:12            25:10,14              50:10,13
                       34:15,16              27:11 28:1,7
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 24 of 49

               Brahm, Victoria   09-25-2018          Page 5 of 30
chaired 53:5         claiming 27:7         coming 10:18          conduct 23:20
chairs 30:18         claims 7:6,10           11:15,16              66:1
                       23:18,21,22           15:10 57:11         conducted
change 14:8
                       28:2 44:16          command 44:4            39:15
  15:21
  16:3,4,20          clear 17:15             45:7                conducting
  18:6 37:12           47:1,4              commencing              32:8
  55:6               Cleaver 43:14           1:19                conference
changes                44:16               comment 29:5            1:18 10:13
  20:16,18           clinic                  64:24 65:13           24:4
charge 26:11           20:7,17,19          comments 29:7         confidence
  31:3                 35:6,21 36:10         31:7                  29:15
chart 29:14,20         39:16,19            committe 31:20        confidential
  31:18                40:25 50:18                                 24:19 26:25
                       51:23 62:23         committee
charter 50:11                                23:13 25:2            27:2 32:18
                       65:15,25                                    52:18 56:21
Chasm 5:13                                   29:21,24
                     clinical 33:17                              confronting
                                             30:15 35:2
Chicago 11:19          47:7 53:2             49:5,7,8,9,11         14:9
                       58:25                 ,14,15,16,22
chief 4:5 12:8                                                   conjecture
  13:5 15:11         close 16:19             50:6,9,10,20          23:7 25:9
  21:8,14,20         closed 19:14          committees              28:5 39:2
  22:11                                      49:8,17,20
                     closely 29:8                                connection
  25:11,13
                       31:8,12,16,23       complaints              17:6
  28:3,4,9
  30:17,18             45:24 49:11           34:4 45:23          conservatively
  33:19,20 34:5      closer 17:7           completed 52:6          36:7
  38:11 50:14        closure 19:16         compliance            considered
choosing 33:13       coaching 67:16          34:2 36:3             53:17
chronic              Coconut 2:4           complicate            construction
  62:9,14                                    10:12                 10:14
                     Colegally 33:1
chronically                                concern 24:13         CONSUELA 1:5
  61:15              combinations            59:17 61:24         consult 51:18
                       49:13                 63:7
cited 32:4                                                       contact 4:4
                     come 12:23            concerned 44:2
city 40:11,12                                                      18:11 21:24
                       28:14,18 37:2         45:19
civil 1:16             39:3 45:9                                   22:3
                                           concerns 27:25        contacted
  18:24 20:22          53:7
                                             33:18                 50:14
claim 25:16          comes 13:6
                                           condition             context 65:10
  26:6,8               16:10 28:18
                       57:8                  62:9,10
                                                                 continue 35:4
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 25 of 49

               Brahm, Victoria    09-25-2018         Page 6 of 30
 48:2                  64:17,22            court 1:1             David 2:7
continues              66:10                 8:17,19 24:6          15:13 44:2,23
  29:23                67:2,6,12,24          70:2                day 34:23 69:2
                       68:6,10,16,25       CPU 33:13
continuing                                                         70:15
                       69:7
  19:12 36:6                               create 38:16          days 30:11
                     coordinator
  46:24                                    created 38:17         DDS 4:6
                       30:23
contract 6:24
                     copies 4:12           credential            DEA 13:13
  55:18 61:1
                                             48:15                 19:14
contracted           cordial 22:12
                                           credentialer          deadly
  60:21              core 12:17
                                             30:22                 55:15,23 56:7
  63:15,16           corner 53:10
                                           credentialing           60:1
contributed          correct                 30:23               dealing
  40:5,17              19:24,25 21:3       crisis 19:4,5           19:11,15
control 10:1           38:21 59:21
                                           CROSS 3:4             December 30:7
  32:4 34:3            65:4 66:7,8
  35:17 36:4           70:10,13            crown 55:3,5          decides 23:15
  37:24              correlation                                 decision
                                           CSR 1:25
  40:19,21,22          66:9                                        22:21,23
                                             70:5,20
  43:12 47:8
                     could 5:9 7:18        culture               decisions 32:2
  49:22
  50:6,19,21           29:7 41:24            14:8,9,22           declare 70:13
  51:23 53:4           42:23 45:5,20         15:7,21             deemed 29:22
  54:15 59:3,10        48:24                 16:1,3 36:19          54:13
  63:20,25             49:1,2,3 52:9         37:5
  64:1,2,4             55:10,16              38:1,16,17,18       deep 25:5
                       56:18                 65:23               Defendant 1:11
conversations
                       59:14,24,25
  58:19 59:2                               current 38:9          DEFENDANTS 2:5
                       60:9,20 61:4
conveyed 34:4          63:17 64:5          currently 5:19        defined 68:19
Conway 2:7 3:5       couldn't 15:15        cutting 16:12         defining 68:21
  16:8,15,25           16:2                                      definitely
  17:4,7,11,13,      counsel 2:1                 D                 55:20
  15,24 19:8           5:17 51:19          database 23:17
  24:3,8,11,14,                                                  definition
                       58:25 59:4          date 5:15
  18 26:25 27:2                                                    66:24 67:21
                       67:19                 28:24 51:20
  31:13 32:17                                                    definitively
                     counseled 34:6          53:24 54:19
  40:12 41:6                                                       64:5 66:8
                       35:14                 57:6
  42:1 46:20,25
                                                                 degenerate
  47:17 52:17        couple 49:8           Dated 70:15
                                                                   67:17
  56:2,21                                  dates 10:25
                     course 18:3
  60:2,8 61:20
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 26 of 49

               Brahm, Victoria    09-25-2018         Page 7 of 30
degree 11:12         deputy 53:8           DIRECT 3:3 5:7           20:25
delivered 8:11       described 14:8        directed              doctor 67:22
delivering           DESCRIPTION             20:7,17             document 13:7
  59:19                4:2                 direction               27:2,24 32:22
denotes 35:6         desk 47:7               37:18 45:23           39:25 46:6
                                           directly 6:22           47:20
dental               despite 40:21                                 52:18,25
  20:7,17,19                                 21:11 22:17
                     detail 9:9                                    53:21 54:3
  21:9 33:2                                director 5:24
                       54:12                                     documentation
  34:5 35:6                                  7:23,24
                     details 56:8,9                                32:3,6
  36:10,22                                   12:13,14,19,2
  37:10              determined              1 28:10,25          documents
  39:16,19,20,2        41:21 54:4            38:9,11 44:7          10:18
  1 40:24                                    49:20 59:16         doesn't
                     didn't 22:10
  48:17,18                                 director's              16:6,13 36:11
                       36:19 43:2
  50:14,18                                   13:6                  54:25 56:9
                       44:9,24 45:5
  51:23 63:11
                       51:12 54:8          disconnect-           done 7:14,15
  65:15,25
                       58:12,16              reconnect             8:13 12:20
dentist                60:21 61:9                                  13:5 29:19,20
                                             16:10
  9:13,15,17,21        65:25 66:20                                 54:11,15,17
  ,22 35:4             67:22               discuss 41:11
                                                                   57:23,24
  40:6,19,22           68:2,4,7,8,9,       discussing              63:14,16
  41:1,3,4 52:3        20                    17:19                 64:13
  53:15,18
                     died 6:21             discussion            don't 6:6 7:11
  59:11 61:2,13
                       27:15                 13:21 15:23           8:16 9:20
  63:11 64:25
                     difference              53:15 56:20           10:3,6,8,17
  66:16 68:19
                       55:12                 57:23 64:21           16:9 17:2,9
dentists 28:2                                                      22:15 23:7,10
                     differences           disease 53:6
Department 2:6                               64:2,5                24:10,12,19
                       20:25
  50:24                                                            25:9 26:9
                     different             diseases 61:15
depending 25:4                                                     28:21 29:11
                       13:13 25:3            63:15                 30:9,10 31:14
depends 48:19          49:16 55:2          distress                35:10,12,14
deponent 70:9          56:13                 56:1,11               39:4,17,24
                     differently           distressed              42:15 43:6,7
deposition
                       62:14                 56:6                  44:13
  1:15 5:1,25
                                                                   48:16,21
  8:7,14 10:13       difficult             DISTRICT 1:1            49:15 50:1
  64:23 69:10          19:17                 2:8 70:2,3            54:19 60:18
depositions          diligence             dive 25:6               62:12,20 63:5
  7:1,13,20            28:21                                       65:6,8,18
                                           diversity
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 27 of 49

              Brahm, Victoria     09-25-2018         Page 8 of 30
 66:4,6 67:17        Drive 5:13              19:23                  8:17 11:7
 68:13               dropped                 34:12,21               45:25 54:13
door 10:14                                   36:15               Everything's
                       23:23,24
  37:7                                       37:19,25              67:17
                       24:16
                                             38:13 45:24
doses 49:13          drops 45:17             65:25 66:5          evidence 34:5
down 8:17            duly 5:5                                      35:12,13
                                           end 51:13
  19:19 27:20                                                      44:9,15
                     during 14:6           ended 61:3              45:20,21
  29:4 33:9
                       18:2                                        47:21 52:9
  53:17 54:2                               enough
                       33:11,14,17
DOWNS 2:3                                    44:9,10,15          exactly 12:19
                       47:7 48:23
                                             45:11,20,21           43:7
Dr 7:19,25             65:19
                                             68:23               examination
  11:2,21,25
                            E              ensure 29:22            3:1,4,6 5:7
  13:1 15:13
  21:18,22,25        each 8:16             entering 67:16          48:2 66:11
  22:4,14,17           50:10                                       70:8
                                           entitled 13:18
  23:2 27:20,25      earlier 41:25                               examined 5:6
  29:25                                    environment
                       56:19                                     EXAMNATION 3:3
  30:14,16,17,2                              14:18
  0,21               early 45:16                                 example 19:14
                                           environments
  31:4,8,11,12       easier 41:8             19:21               excuse 40:7
  32:7,25            East 1:18             episode 53:2          executive
  33:10,17,21
                     education             equipment               23:9,13 25:1
  34:1,9,10
                       11:11                 42:5,6,11             29:24 30:15
  35:1,16 36:3
                                                                   31:20 32:1
  37:24              elect 69:1,4          especially              35:2
  39:4,7,9,14,1                              28:3
                     elected 67:21                               exhibit
  5,20 41:21,24
                     else 24:20            established             13:17,22
  43:11 45:8,15
  46:1,7,18            42:11 51:15           59:10                 18:10,14
  47:6 49:4            58:7                event 23:6,8            26:14,18,21
  50:16,20           emotional               38:20 57:18           32:14 51:1,2
  57:14 60:13                                                      52:16 56:25
                       56:1,11             events 8:4
  65:1,14,19,20                              23:5                exhibits
                     employed
draft 32:10                                                        4:1,2,11,12
                       5:19,21             every 29:19
  51:8,9                                     53:16 64:9,11       exist 38:2
                     employee
drafted 53:11          12:2,4              Everybody             exonerate
  54:14 58:19          22:21,22              17:23                 61:18
drawn 62:18            37:14 70:11         everyone 21:1         experience
drilling 15:1        employees                                     12:12
                                           everything
                       14:23 15:8
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 28 of 49

               Brahm, Victoria    09-25-2018         Page 9 of 30
expert 25:25         factor 9:9              38:5,7,10           firsthand
  53:6 64:1            25:24                 45:5                  65:18 66:6
experts 52:7         factors               feeling 21:4          five 28:25
  53:5,6               40:5,17,20            45:22               fix 14:5
  54:4,11,22           53:17 62:15         felt 23:9
  59:2,3 62:24                                                   FL 2:4
                     facts 42:1              37:20 50:13
  63:20,21,22,2        47:18 48:4                                flip 33:23
  4 64:2,5                                 few 56:10
                       56:12,13              64:17               focused
explanation          factual 61:2                                  29:11,12
  27:16                                    field 13:12
                                                                   44:25
  28:11,13           factually 61:4        file 25:16
                                                                 follow 29:17
exposed              failed 67:11          filed 9:5               66:17,21
  9:11,12 55:22      failure 33:11         files 30:24             68:21
  56:7 60:1            35:6,8 40:20
                                           fill 48:10,12         followed 33:12
  61:18
                     fair 65:11,20                                 52:3 59:11
exposure 9:16          68:23               filled 46:18            60:25
  61:8                                       47:13 48:7
                     familiar                                    following
extended               14:1,2 18:19        final 22:21,22          68:19
  30:3,12 32:3         32:23 41:19           58:20 61:25
                                                                 follows 5:6
extent 24:18           51:6,7 52:23        finally 36:23           29:16
  25:21                57:1,2 63:7           45:2
                       64:8                                      followup 55:9
extra 62:18                                financially
                     familiarize             70:11               foregoing
extremely                                                          70:6,10,13
                       41:18               find 42:23
  55:10
                     family 59:18            56:18               forget 7:18
                                                                   48:4
      F              far 17:10             finder 33:5
                                                                 formal 57:22
face 53:22           farther 17:8          finding 25:1,2
facilities                                   32:8 42:22          former 38:13
                     fast 14:24,25
  53:9                 40:9,11             findings 39:21        formulate 58:5
facility 12:13       fault 23:10           fine 8:22 41:9        forth 68:14
  18:4 21:5                                  48:1,4                70:6
                     fear 21:2
  38:2,6                                                         forward 36:23
                       36:20 37:3,12       finish 8:15
  40:6,18 47:6                                                     37:11 39:3
                       38:2,17             fired 43:10
fact 19:5              55:11,16,21                                 45:13
  25:1,2 32:8                              first 5:5 7:10        found 17:21
                     February 30:8
  33:5 36:18                                 12:23 19:17           34:11,21 42:4
  55:17 57:8         Federal 1:16            51:22 59:13
  61:19                                      67:5 68:3           foundation
                     feel 9:12 25:5
                                                                   6:17,23 19:8
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 29 of 49

               Brahm, Victoria    09-25-2018        Page 10 of 30
four 12:18             21:22,25            going 10:15             49:10
FPPE                   30:17                 11:23 12:5          gut 45:12
  29:8,9,11,12,       general 51:19          13:11,17 17:6
                                             18:5 31:7           guy 22:25
  17,22,25              58:24 59:4
  30:11 31:8,15                              40:4 41:22          guys 54:7
                      generally 50:8         42:25 44:9
  32:2,5                66:19                46:20,21,25               H
FPPEs 34:25           genomic 55:18          51:11 62:16         habits 33:11
FRED 1:5                60:19,23,24        gone 24:15            had 5:25 7:17
free 55:17,23           61:4,7,17            35:17
                        62:2,6,19                                  12:17 13:14
frequent 22:6           63:13              good 9:2,3              15:21 19:23
                                             13:10 17:11           21:10 26:10
frightened            get 16:17 25:5         33:7                  27:23,24
  59:23 60:7            29:12,13 39:6
                                           gotcha 57:16            29:25
frightening             43:2 44:19,23                              30:8,10,11
  59:24,25              45:2,20 50:9       go-to 33:2              31:15,17,19
                        51:10 64:8         gotten 56:14            34:1 36:2
from 11:13
  12:14,16            gets 22:21                                   39:3 41:23
                                           gown 42:21
  15:10 18:4                                                       45:12 49:25
                      getting 24:18
                                           gowns 33:15             51:10 52:4
  21:15 28:18           57:13 62:17
  29:17 35:21                              grab 50:23              54:7,9,10
                      give 6:4 53:8                                55:3,4 56:11
  37:15 40:4,10                              54:20
                        61:24 62:8                                 60:20
  45:15,23                                 graduated
                        64:12 68:14                                63:8,10,17
  50:13,18,19                                12:14
  51:10 53:1,3        given 53:19                                Hader 1:17,25
  57:4 58:9             58:10              graduation
                                                                   70:5,20
  59:1                                       12:16
                      giving 39:25                               hadn't 16:23
  61:2,9,13,18          67:24              greater 23:18
  62:18,24 63:3                              26:1                halls 19:2
  68:12               glove 33:12
                                           grounds 46:21         hand 34:3 36:4
FUENTES 1:6           gloves 33:13                                 49:24
                        43:1               group 2:3
full 25:23                                   30:19 45:13         hands 33:11
  30:23 52:5          go 18:16 19:9
                                             51:9 53:1,5         handwashing
                        24:22 25:6
further 37:3                                 62:24                 33:11
                        29:21
  53:16 64:15           39:10,21 40:1      Grove 2:4             happen 42:23
  68:24 70:11           42:2 47:21         guess 8:9 25:5        happened 9:8
                        48:18 58:11          27:8 34:14            10:25 25:11
      G                 61:3 62:15           42:24 46:16           44:22 52:2
Gavin 53:7
                      goes 40:23           guidance 53:9         happens 16:5
Gelman                  41:17
                                           guidelines
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 30 of 49

             Brahm, Victoria     09-25-2018         Page 11 of 30
happy 8:24             16,17 57:22         hear 7:8,9              58:4
hard 19:16             58:5 60:1             10:15 14:24         higher 39:3,7
                       61:9,12 63:9          46:14
harm 6:19 17:3         64:8,17,20            67:5,8,12,18,       highest 11:11
has 9:4 17:5           65:24 66:6            20                  highly 38:11
  19:1,5 24:4          68:1 69:4             68:10,11,12         him
  28:14 30:25        having 5:5            heard 26:22             22:9,10,18,24
  38:14 39:13          16:8 27:23            49:25                 29:1 31:16
  46:17 47:9           55:14 61:3,18                               32:11 33:1,4
                                           hearing 50:1
  50:10 52:6                                                       42:15,16,20,2
                     he 9:25
  67:9,19 68:11                            hearings 13:12          1,22 43:2
                       10:4,5,6,10
have 5:25              12:1                held 19:1               45:17 50:5
  6:2,12 7:12          21:11,13,14         he'll 44:19             67:6
  10:18                22:10,11,13,1                             himself 46:18
  11:4,7,15,17                             helping 24:9
                       5,16,18,22                                  48:7,10,13
  12:12,17,20          23:4,6,9            helps 37:6
  13:3,7 17:16                                                   hire 22:22,24
                       27:7,8,9,16         hepatitis
  18:24 20:4                                                       23:14
                       28:8                  60:13
  21:8,24              30:2,5,8,9,10                             hired 23:3
  22:1,9,15,16,        ,11                 her 14:6
                                                                 hiring 13:3
  17,18 23:10          31:15,16,23,2         37:1,11 44:18
                                                                   22:14
  25:17                4 32:10               47:18,20,23,2
                                                                   27:24,25
  26:10,11             33:2,7                5 48:3 61:20
  27:24 28:1,2                               68:4                his 8:8 13:3,7
                       34:6,10,12
  30:5,6,8,22          35:10,13,19,2       here 5:17 8:9           27:16,24 28:8
  31:16,17             1,22,23 36:6                                31:17 32:2
                                             10:19 14:4,17
  33:10                43:7,8,11                                   33:8 34:23,25
                                             24:7 28:5
  34:10,15,22,2        44:9                                        39:22
                                             35:13 38:7
  5                    45:2,18,19                                  41:21,22,23
                                             39:20 45:12
  35:1,7,10,17         47:12                                       42:4,10 43:8
                                             47:24
  37:6,8 38:25         48:7,10,12,14                               45:9 47:7,9
                                             54:12,16,20,2
  39:4,7,10,12,        ,16,19,20                                   48:16,22
                                             1 61:5
  20 40:2 41:24        49:14,15,16,2                               63:11
                                           herein 5:5
  42:4,12,13,16        1,24 50:3,5                               history 19:20
  43:10 44:9           67:22 68:20         he's                    23:14
  45:10 47:14          70:8                  24:12,14,16
                                                                 HIV 60:14
  48:2,9,11,12,                              27:6 31:7
                     head 8:19                                   hospital 7:23
  13,14,17 49:8                              33:6,7
  50:3 52:17         heal 4:3 13:19                                15:15 16:2
                                           Hickory 5:13
  53:6 54:4            19:16                                       37:16,17
  55:22                                    high 49:13              49:10 59:3
                     healthcare
  56:6,7,11,14,                              53:16,17,19
                       12:15 41:13                               hostile 19:20
                                             54:8 56:11
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 31 of 49

               Brahm, Victoria    09-25-2018        Page 12 of 30
hotspot's              37:21               including             inspection
  16:25                40:4,8,10             37:21 47:11           39:20 40:2
Houlihan               41:19 43:1,16         53:7                  41:14 42:5
                       44:11               INDEX 3:1 4:1         inspections
  7:19,25 15:13
                       46:6,16,20,21
  44:23 45:15                              indicate 35:1           13:13
                       ,25
Houlihan's                                                         39:16,22
                       48:3,13,21          indicated 19:3
  44:2                                                             40:25
                       50:22 51:7,19         47:24                 41:22,23
hour 14:6              53:14 55:24
                                           individual              42:17
                       57:2,13,15
hours 33:17                                  65:3                instance 50:12
                       61:23
  47:7 48:24                               individually            57:8
                       62:12,17 63:6
human 22:1             64:8 66:23            1:6                 instances
hurt 10:1,6,10         67:1,4 68:5         infec 40:7              26:24
hygiene 49:25         immediately          infected 55:14        Instead 39:25
                        52:2,3               64:6,7              instinct 45:12
       I              implemented          infection 10:1        institute
I'd 64:8                20:17,23             32:4 34:2             12:15
  67:18,20            important              35:17 36:4
  68:11                                                          instituted
                        61:14                37:24
                                             40:19,21,22           45:14
idea 17:17            improper 35:16
                                             43:12 47:8          instruct 47:25
identification          40:7,19
                                             49:21               instructed
  13:22 18:14         improvements           50:6,19,20
  26:14 32:14                                                      47:23
                        14:7                 51:22 52:12
  51:2 52:16                                 53:4 54:15          integrity 33:6
                      inadequate
identified                                   59:3,10               39:13
                        65:15
  20:14 40:5,17                              63:20,25            intent 66:15
                      incidences
IG 10:22 13:13                               64:1,2
                        26:23                                    interaction
  45:24                                    infectious              21:8,10
                      incident 6:21
I'll 6:7 8:24                                53:5 64:4
                        8:8 20:9                                 interested
  12:6 26:24            31:22 38:4         inform 59:9             70:12
  33:24,25 40:1         39:1 41:21         information           interrupted
  48:2 54:20            46:11,13,14          19:15 21:24           12:5
I'm 7:14 10:16          53:4 62:1            28:6
                                                                 interview 14:6
  11:20,22            incidentally           54:7,9,22
                                                                   18:3 25:6
  14:3,4 17:20          12:25                57:8,11,21
                                                                   26:12
  18:20,21 19:5                              58:4,13
                      incidents                                  interviewed
  20:10 21:4                               informed 58:20
                        36:16                                      18:9
  25:5,25
  28:12,23 30:6       included 40:20       inquiry 42:23
                                                                 intimidation
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 32 of 49

             Brahm, Victoria     09-25-2018         Page 13 of 30
 14:15,22 15:7         35:1 40:24             8:15,23,24         know 6:18 7:15
 16:1 21:2           its 53:22                13:24,25 14:3        8:11,21,23
 36:21 38:18                                  18:17 24:18          9:8,9 10:17
                     it's 13:18               25:7 31:22           11:23 13:4
into 11:10
                       14:25                  33:2,24,25           14:1,16 16:9
  24:19 26:12          16:12,18
  46:17 62:15                                 34:16 41:17          17:2,9,18,20
                       17:3,9                 45:21 47:12          18:18 19:11
investigated           18:5,11,17             48:6 51:4            22:10,13,15
  36:23                19:16                  58:8 60:16           23:4,10,23
  47:15,16 48:6        23:17,24 29:1          61:5 62:8            24:10 25:8,11
investigating          32:13 36:20            64:12,18             26:5 28:21
  41:20                37:5 41:12             66:18 67:15          29:11,25
                       42:3,8,9,13            68:12                30:9,10,11,13
investigation          47:4,14,24
                                           JUSTICE 2:6             ,20
  10:9 11:1            52:8 55:19,20                               31:14,15,22
  23:20,25 52:5        56:13                                       32:23,25 33:2
investigations                                    K
                     I've 7:14,15                                  34:20
  8:3 19:12,13                             keep 17:6
                       11:17 26:9                                  35:10,12,14,1
  47:4                                       33:13 54:21
                       34:20 64:15                                 6 37:9,13,16
                                             58:12,16
investigative          66:10,13                                    39:4,14,15,17
  14:21 15:6                               keeps 30:24             ,19,22,24
  44:14                     J              kept 11:4               42:15 43:6,7
                     jackhammer              57:11                 45:18,19,25
investigator
                       10:15 16:11                                 46:1,21
  28:14 33:4                               key 25:24               47:12,15
investigators        jackhammering           54:16,22              48:6,16,21
  11:6                 16:17                 61:5,11               49:15,18
involved 7:2         January 14:20         kill 44:10              50:3,5,18
  8:6 64:3             15:4 30:8           killers 46:9            51:5 52:8,22
                       35:19,23 43:9                               54:19
involving                                  kind 16:4,12            56:9,13,25
  7:5,6 8:1,5,6      Jason 24:5,6
                                             20:1 23:16            60:16,18
                       45:3                  24:1 25:2
Iron 12:21                                                         61:6,11
                     Jay 8:6                 28:9 44:22            62:12,13,20,2
issue 25:4
                     job 25:20               45:22 68:13           1,25 63:5,12
  28:5 34:22
                                           kinds 30:24             65:18 66:4,15
  36:19 37:4,5       jobs 11:15
  46:4 47:5                                knew 9:23 10:4        knowing 31:22
                     joined 24:4
  66:5                                       36:18 39:9            52:2 56:12
                     Joy 21:18               43:4 54:23
issued 57:19                                                     knowledge 7:3
                     JR 2:3                  56:8 59:19,23         10:11 55:8
issues 6:23,25
                                             66:16,21              66:6
  7:15 26:10,13      July 5:16
                                             68:20
  32:3,4 33:2        just                                        known 34:2
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 33 of 49

               Brahm, Victoria    09-25-2018        Page 14 of 30
 36:3 50:3            learn 51:22          limit 61:7              8 49:12 52:17
 54:23 60:13            59:25              line 24:20              53:4,11
knows 19:6            learning 56:6                              Lori 43:14
                                           lines 10:24
                      least 37:2                                   44:16
                                             11:3 64:24
      L                 39:18                65:16               lose 25:16
lab 62:25
                      left 19:5            listen 12:6           lost 7:8 47:9
labs 55:9               53:10              listening             lot 7:14,15
lack 34:2 36:3        legal 65:10            20:24 24:13           20:22 21:5
  42:10                                                            39:13 49:1,3
                      legally 65:3         litigation 8:5
large 45:9                                                         62:15
                      less 26:7            lived 12:2
last 16:24                                                       lots 20:19
                        37:13              local 54:10
  19:3 59:14                                                       57:22
                      lets 50:3            long 14:6 18:6
latent 62:14                                                     loud 8:18
                      let's 6:12             19:24 35:16           17:15
later 44:19             22:24,25             43:4,6,7
  48:3                                                           loved 60:6
                        33:23 35:22          63:17
latter 10:4             50:25 68:12                              low 9:16
                                           longer 38:7
                      letter 4:7                                   52:8,10,11,12
launch 45:11                               look 13:16,24           54:5,10,13,24
                        32:15 50:24          18:4 23:21
launched 44:25                                                     ,25
                        51:5,7,8,10,2        24:25
Laura 62:22,24                                                     55:4,5,7,13,1
                        0 52:1 53:24         25:7,10,11            4 56:11 57:25
LAW 2:3                 54:23,25             26:3,10,15,20         58:3,6,15,20,
                        55:6,13 57:25        29:4 39:3,7
laws 70:13                                                         21
                        58:20,24             42:6 45:8
lawsuit 9:4             59:7,9 60:11         52:7 56:24                 M
lawyer 51:18          letters 55:2           57:13 59:7          made 26:11
lawyers 59:5            58:11                64:13,18
                                                                   32:2 55:12
                      level 11:11          looked 11:10            64:24 65:13
lay 56:12
                        23:16 31:15          26:12 28:1            70:8
lead 43:25              39:6 45:10           31:24 46:17         Madison 2:9
  53:15
                      levels 48:11         looking 14:3            21:16
leader 12:18                                 18:21,22
                      liability 61:8                             majority 34:1
  22:9                                       27:19 29:14
                      license 46:8                                 36:2,5
leaders 12:18                                39:18 42:14
                        47:9                 43:16 46:6          make 16:20
leadership                                                         22:21 52:7
                      light 20:12            53:14
  12:15 14:15                                                      60:25
                        48:4 57:8,11       looks 24:14
  37:7,8
                      limelight              27:6,11             maker 22:23
  38:5,13,14
  40:6,18               45:18                28:4,6,8,17,1       making 66:23
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 34 of 49

              Brahm, Victoria    09-25-2018         Page 15 of 30
malicious 10:3         54:4 62:5           meant 19:10           MIAMI-DADE 2:3
management           may 22:1 23:10          66:15               Michigan 12:22
  12:8                 26:10               mechanisms            middle 18:22
mandatorily            42:11,13              44:25                 37:18 53:14
                       45:19 53:18         media 47:5
  26:2                                                           might 6:18
                       55:22 56:7
many 6:3,4             57:21               medical 1:18            22:8 64:17
  28:1 32:1            59:18,25              4:3 5:22,24         military 23:4
  48:11 52:2           64:20 65:24           9:6
  54:21 60:18                                13:8,15,20          Milwaukee
                     maybe 6:6                                     12:1,3,10
Marcantonio                                  23:8,13
                       47:14
  22:4 27:20                                 25:1,12,13          mind 17:20
                       58:13,16,18
  31:11 33:21                                29:24 30:15           54:21 62:8
                       65:14
  34:9 35:1                                  31:18,20 35:2
                                                                 mine 17:9
                     me 6:24 7:8,11          59:16
  39:4,5 50:16
                       8:9,23,25                                 minute
  65:14,19                                 medication 8:2
                       12:6 14:1,24                                64:12,18
Mareno 24:5,6                                48:25
                       16:3,4                                      67:15,16
mark 13:17             17:14,18            medications
                                                                 minutes
  18:10 24:23          18:18 21:3            47:11 48:18
                                                                   58:13,17
  26:17 50:25          22:12 29:2          medicine 22:11
                       32:22 34:14                               mischaracteriz
  52:15                                      30:25 31:4
                       35:5,9 39:21                                es 61:20
marked 13:22                                 46:10
                       40:7                  47:11,12            moment 13:25
  18:14
                       46:12,14,24                                 18:18 32:22
  26:14,21                                 meetings 22:5
                       50:3 51:5                                   51:4 52:22
  32:14 41:12                                54:21
                       52:22 56:25
  51:2 52:16                                                     money 25:22
                       57:13 58:10         Melissa
  56:24                                      54:16,17 57:4       monitor 29:8
                       59:15,16
Martin                 64:5,12,13            63:5,22,24            31:8
  62:22,25             68:14               member 50:9,15        monitored
Mary 1:17,25           70:6,7,9                                    29:14,23
                                           members 50:12
  2:4 13:18          mean 7:4                                      31:11,16,23,2
  17:18 18:11          9:11,24 19:7        memory                  4 34:6 35:14
  24:22 26:17          24:12 25:4,15         10:22,25
                                                                 monitoring
  32:13 41:12          37:15 58:9          mentioned 34:1          34:9
  50:23 52:15          62:15                 36:3 65:22
  56:18 70:5,20                                                  monitors 30:24
                     meaning 65:7,9        mentioning
massive 20:20                                                    month 12:25
                     means 12:18             7:25
                                                                   30:7 51:25
Master's 11:12         29:13               met 39:21
                                                                 Monthly 22:7,8
matter 53:18           66:14,18,20         Miami 24:7
                                                                 months 29:19
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 35 of 49

               Brahm, Victoria    09-25-2018        Page 16 of 30
 30:6 35:25            66:15                   29:13 45:14         28:12,23 30:6
 36:7                  68:16,18                60:22 62:9,13       31:25
Moore 54:16            70:10               newer 54:9              33:12,14
  57:4                myself 37:7                                  34:13,14,15,2
                                           news 59:19              1 35:1,4
  63:6,22,24            51:12
                                           next 10:14              37:19 38:10
Moore's 54:17                                                      39:6 40:6,18
                            N                18:10 33:23
more 7:22 12:6                               50:25                 41:23 42:16
                      N69 5:13
  28:6 35:7                                                        43:1,7 44:15
                                           nice 67:18
  36:7 47:1           nagging 42:25                                45:9 46:21
  51:25 54:22                              nine 35:25              47:23,24,25
                      name 3:2 5:9
  56:8 57:8,10                               36:7                  48:3,7,19,21
                      named 24:4                                   50:22 53:18
  58:13,18                                 no 1:2
  64:20                 28:8                                       54:12 55:18
                                             7:3,7,10 9:20
                      narcotics              10:11 11:24           56:12,17
Mountain 12:22
                        45:16 48:9           13:4 17:16            57:21 58:18
move 6:24                                                          59:10
                      necessarily            21:12,20
  45:7,13 68:3                               22:25 32:4            61:1,11,12,13
                        14:17
moving 6:17,19                               33:24                 ,14 62:12
                      necessary 17:1                               63:6 64:8
MSEC 30:14,15                                34:14,18 38:7
                      necessity 14:9         39:11 42:19           65:3,9
  31:25                                                            66:17,23 67:4
                      need 8:22              46:2,5 50:7
much 15:10                                   55:4,16,24            68:19 70:11
  17:13 55:11           33:24 41:18
                        64:18                57:9,10             Notary 1:17
  57:21                                      60:15,21,24
                      needed 50:13                               note 57:7
multi 62:16                                  62:4,8 63:10
                        69:3                                       61:14
                                             64:15 65:5,8
multiple 6:23                                                    noted 47:4
                      needs 57:7             67:8 68:8,24
  8:3 13:13                                                        48:11 67:10
  18:25 19:20         negligence           nodding 8:19
  45:1,23               6:11 7:2,3                               notes 10:24
                                           nor 70:11
  47:4,11               65:10 67:21                                11:3,4,8
                                           normal 20:13            64:13,19
Murawsky 45:8           68:18,22
                                           not 7:3,23              70:10
MURPHY 1:5            negligent
                        9:13,15,17,18        8:11,12,20          nothing 44:24
my 7:3 8:15,18          64:25 65:6           9:9 10:11,16          55:19,20
  10:11,22,24,2         66:14,18,20,2        12:14,19
                                                                 notification
  5 20:14 31:15         4 67:22              14:16,17 16:4
                                                                   40:24 59:18
  39:6 42:13                                 17:9 18:5
                      network 44:7           19:14 20:13         November 4:7
  45:7,12 48:2
  55:8,21 58:8        never 17:20            22:6 23:9,23          30:7 51:21
  61:24 62:1,17         19:5                 24:14 25:25           52:13 53:12
  63:7 64:13,18                              26:13 27:13           54:7 57:19
                      new 19:1 23:14
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 36 of 49

               Brahm, Victoria     09-25-2018           Page 17 of 30
now 18:4 31:23        occur 38:10               41:20               35:18 40:23
  33:20 46:1            54:21              okay 6:8,15              41:13,16
  47:9,23             occurred 39:4          7:4,11 8:14            42:21,25 43:1
  53:10,24 54:2                              9:10,14 13:8           46:20,22
                        61:25
  56:12 65:3,18                              14:13 16:15            48:3,19
  67:16               occurring                                     49:4,14,15,16
                                             17:4,7,11
                        34:24 45:25                                 ,21
number 33:9                                  18:2,8,16,20,
                      Oct 35:22              21                     50:5,11,21,25
  45:10 53:16
                                             24:8,11,17,21          51:10,15,20
nurse 12:11           October 12:24
                                             26:15,22,23            53:10,22
  48:23 56:8            19:4 30:7
                                             27:4,12,14,19          54:2,7,17
  63:25                 35:21,22,24
                                             29:4 30:3,5            57:6,15
                        51:24 54:18
nursing 12:8                                 31:3,5                 58:2,3,12
                        70:15
                                             32:13,16,19,2          62:16 63:6
                      off 6:17,19,24                                69:1,5
      O                                      4 36:2,12
                        13:4,21 15:23                              once 39:21
oath 70:7                                    38:23 39:12
                        24:16 56:20
object                                       40:4,10                 43:11 69:2
                        64:21
                                             41:5,19 42:10         one 6:14,25
  46:20,23 48:1
                      offered                44:22
objected 67:19                                                       7:10,17 12:18
                        55:8,17,23           46:17,23                14:16
objecting 47:1        offhand 48:16          47:22                   20:13,20
                        54:19                52:21,24                23:6,8
objection 19:8
                                             53:14,24 54:2           26:17,22
  31:13 42:1          office 2:3,7           57:2,3,6,14,1           27:6,10,11
  47:17 56:2            11:19 13:6           7 60:6                  28:8 30:8
  60:2,8 61:20          14:7 19:6            64:10,12                36:22 37:10
  67:2,9 68:16          51:10,17 52:6        65:13                   41:12 48:12
objections              53:1,3 58:24         66:13,18
                        59:1,4                                       49:8 52:11
  70:8                                       68:3,25                 53:7
objective 62:1        officer 12:8,9       old 57:13                 55:2,4,6,7
                        25:12,13                                     56:19 57:7
obligation                                 on 1:7,19
                        51:16                                        59:8 60:21
  30:25 38:16                                2:2,5 7:12,15
                      official               9:21                    62:22
O'Brien 4:6                                                          63:16,22,24
                        22:18,19             10:5,16,25
  11:2,21,25                                                         64:1,12 67:5
  32:7,25 34:11       often 28:2             15:14 16:19
  39:15,20              39:17 42:15          17:22 18:24           ones 7:16 60:7
  41:21 57:14         OGC 58:9,22,23         21:5 22:25            ongoing 29:18
                                             23:22 24:20             50:21 59:2
O'Brien's             oh 6:4 27:4            25:12,18,19,2
  39:14                 29:11 34:19          2 26:2 30:24          online 25:7
observation             57:13,14,16          31:25 32:5            only 8:21
  31:18               OIG 18:9 40:2          33:9,13 34:10           27:11 50:3
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 37 of 49

               Brahm, Victoria   09-25-2018         Page 18 of 30
 55:6                 ourselves 37:9          47:11 48:25          56:5,12 61:15
open 37:6,8           ousted 44:23            49:5,7,9,10,1        63:7
                                              5 50:6             perfect 18:5
opinion 22:9          out 8:18 15:8
                                           Palo 62:24            perhaps 39:3
  58:5,8                16:12 22:2
                                             63:1,4,21
opioid 7:19             25:6,17 34:21                            period 37:22
                        37:16              paragraph
  13:11 46:3                                                       43:4 69:2
  47:5 48:12            42:22,23             59:14
                        47:18 51:11                              perjury 70:13
  49:11,16                                 paraphrasing
                        52:1 53:25           14:4                permission
opioids 8:2             58:11 59:8                                 48:14
  49:12                 60:11 62:17        Pardon 63:23
                                                                 permitting
OPPE                  over 7:16            part 31:25
                                                                   38:1
  29:8,9,18,23          8:1,16               34:25 35:2,3
  30:5,11,20                                 42:5 51:12          person 8:12
                        11:5,8,17
  31:8                                       61:7,17               22:16,20
                        13:9 19:24
                                                                   62:16 64:11
OPPEs 31:2              25:12,15,17        particular
                        29:15 33:23          66:4                personal
opposed 8:19
                        39:21 41:17                                11:4,8 42:10
  38:18                                    parties 70:11
                        47:8 59:13                               personally
order 32:2                                 pass 22:25
                      overnight 16:5                               42:4,6
  48:20                                    passed 45:3
                      overprescripti                             pervasive
orient 13:25                               passing 8:8
                        on 8:2 46:3                                14:22 15:7,25
  18:18 32:22                                                      21:3,4
  51:4 52:22          overseeing           patient 27:15
                        49:24                61:1                phone 16:18
original 4:11
                      oversight            patients 33:15        phones 16:19
other
                        29:18 48:9,11        53:16 55:3,4        physician
  7:1,13,20                                  60:12 61:3
  8:17 13:4             49:9                                       62:12,23
  26:4 28:8           owned 42:4,6         pay 25:17             physicians
  40:24 44:25                              peace 62:8              23:23 64:2
  58:4 61:10                P              peek 41:10            Pica 21:18
  62:16               p.m 1:19
                                           peer 29:20,21           30:14,16,20
others 20:19          page 3:2 4:2                                 31:4 39:7,9
                                             31:19 44:25
our 10:5 30:22          18:16,22             45:8,9              place 14:5
  33:2 37:14            19:19 32:21                                19:4 27:7
                                           peers 29:20
  45:21 48:9,12         33:23,24                                   37:8,17 38:2
  49:19 51:16           41:16,17           penalty 70:13           41:22 70:6
  53:5 54:15            52:21 56:25        pending 8:25          Plaintiffs 1:8
  66:16                 57:15 59:13
                                           people 39:3             2:2
                      pain 8:2 46:9
                                             54:15 55:25
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 38 of 49

              Brahm, Victoria     09-25-2018           Page 19 of 30
played 22:13           35:17                   35:10               19:15
please 5:9,15          40:20,23            problematic            psych 18:24
                       59:10                 11:23
  8:15,18 26:21                                                   psychological
  42:25 43:1         precautions           procedure 1:16           14:18 20:21
  51:1 52:21,23        34:3 36:5             33:14 54:4             21:6 37:6
  56:25 67:7         preexisting           procedures             public 1:17
pockets 14:11          60:18,19,20           33:12 48:19            15:20
point 32:7           prescription            53:17 66:21            51:11,16
  42:14 44:1,8         8:1                 proceedings            pull 15:19
  58:19 67:25        prescriptions           70:6                 pulled 53:3
pointed 14:7           46:18 47:13         process 35:3
                       48:7,15                                    punished 43:17
policies 10:5                              Professional
  45:14 49:10        present 55:24                                purpose 10:16
                                             1:17 70:5
  66:16 68:20          68:20                                      purposeful
                                           program 20:23
policy 37:7          press 44:11                                    9:22,24,25
  68:21                45:6                proper 33:14           purposefully
                                             47:24                  9:25 10:4
poor 33:10           pretty 47:3
                                           property               purposely 10:1
position 5:23        prevent 45:15
                                             6:17,19,25             66:16
positions            prevented             propounded
  12:10                38:25 39:12                                push 14:7
                                             70:8
positive 28:23       previous 14:15                               put 16:21
                                           protective
  60:13 64:6           15:10 67:12                                  42:21 43:1
                                             42:11                  45:17 70:7
positives            prior 8:9             protocol 33:12
  63:8,9,10            11:18,20                                   putting 47:17
                                             34:4 36:6
possession             12:9,12 23:3          52:3
                       27:24                                             Q
  46:9                                     protocols 49:9
                     privilege                                    quadrad
possible                                   provide 68:13            12:18,20
                       48:21
  42:3,8,9
                     privileges            provided 28:15         quality 12:8
  55:11
                       23:15,16              65:14,19               37:17
potential 9:12
                       48:16,17,22         provider 23:15         question
  26:7
                     privileging             25:4 26:10             8:15,21,25
PPE 33:14                                    29:18                  9:1 15:18
                       30:23
practice                                                            47:19 48:21
                     probably 10:14        providers
  29:16,22                                                          56:4 66:13
                       29:1 36:7             29:12,13
  45:19 61:13                                                       67:25
                       56:11 67:3          provides 28:11
  63:11                                                           questions
                     problem 16:9          providing                8:7,10,18
practices
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 39 of 49

              Brahm, Victoria     09-25-2018           Page 20 of 30
 64:15,17,20           s 58:9,10               43:19               18:12 24:7
 68:24 70:7          recommended           relative 7:13           26:18 32:15
quick 24:3                                   70:11                 40:8,14
                       27:20 50:12
                                                                   41:1,5 70:1,5
quickly 7:11         record 5:10           released 29:17
                                                                  reporting
  64:19                8:20 13:21          relevance                14:21 15:6
quite 42:25            15:23 17:23           46:20                  20:21 35:3
  44:13                27:3 56:20
                       64:21               remedy 8:13            reports 33:16
                       67:10,19            remember 7:14          representative
       R
                       69:1,5                30:10 44:13            50:13
radiologists
                     recorded 70:8           50:1 66:2
  28:2                                                            represented
                     REDIRECT 3:6          remind                   5:17
raise 34:21
                                             42:20,21
  44:4               reduced 57:18                                reprisal 36:20
                                           reminded                 37:3
raised 34:23         reference               42:15,21
ran 62:23              19:20                                      requested
                                           removed 23:11            70:10
rapid 16:6,12        references              35:21,23 37:7
                       26:4,13                                    require 45:17
read 10:22,24                                45:2 52:4
  29:7 33:25         referencing           removing               required 25:19
  34:18 39:25          15:9 37:22            20:5,6,8               26:2 39:17
  40:4 52:24         referred 41:4                                reread 11:1
                                           report 4:4,6,8
  59:14 67:6           56:19                 10:23 14:20          research 23:22
reading 40:9         referring               15:4 18:11             28:22
Ready 40:13            64:25                 21:11,13,19,2        residency
                     refills 45:16           0 22:21 31:17          28:9,25
real 16:12
                                             32:10 34:18
really 33:24         reflect 53:21           36:16 38:20          resident
  40:11 44:9         refresh                 40:2,22 41:4           28:3,9
realm 67:16            10:22,25              43:2,24              residents
                                             54:17,19               28:25
reason 61:17         regarding 8:10
                                             57:3,20 65:25
                                                                  resource 22:1
reasons 14:16        region 12:19
                                           reported 1:24
  37:10 63:16          33:3                                       respect 18:24
                                             21:14 22:17
                     regional 11:19                                 20:22
rebuild 13:14                                25:18 26:2
                                             31:20                respected
recall 65:1,16       Registered
                                             33:10,18 39:5          22:10
                       1:17 70:5
receiving                                                         respectful
                     related 7:21          reporter 1:17
  55:13                                                             22:12
                       10:24 32:3            8:17,20 14:25
recommendation                               15:3 16:18,23        response
                     relation 6:20           17:2,5,9
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 40 of 49

               Brahm, Victoria   09-25-2018         Page 21 of 30
 6:20,22 32:10         3:3,6 5:8              44:16              safety 14:18
 53:2                  13:16,23               50:17,23 51:4        20:21 21:6
responsibility         15:2,5,24              52:25 53:12          37:6 40:21
  38:4 43:22,24        16:14                  54:5,6 59:5,7        49:11
                       17:12,14,16            61:5,24 62:6       said 11:24
responsible            18:1,8,13,15           64:14 66:21
  27:16                                                            18:5 33:9
                       19:18                  68:23 69:8
                                                                   35:19 44:19
result 63:10           24:6,9,12,16,       risk 9:16               55:7,13 58:22
                       21,24                 52:4,5,6,8,10
results 37:15                                                      68:9
                       26:15,19              ,11,12
  63:1,3                                                         salary 13:5,7
                       27:1,4,5              53:16,18,19
retaliation            31:21                                     SALVADOR 1:6
                                             54:5,8,10,13
  14:22 15:8           32:13,16,19,2         55:4,5,14           same 7:16
  16:1                 0                     56:10                 12:25 16:8
retired 21:23          40:10,13,15,1         57:4,17,22,23         55:9 67:25
                       6 41:3,9,15           ,24,25
retrained 20:4                                                   Sara 44:18,19
                       42:7 46:23            58:1,3,4,6,15
retraining             47:3,22 48:5                              say 8:18
                                             ,21
  20:5,6,8             50:23 51:3                                  9:17,24 15:14
                       52:15,20            RISTOW 1:6
revealed 14:21                                                     22:24 25:19
  15:6,7               56:3,18,22,23       RIVERS 1:5              26:6,24 36:7
                       60:3,10 61:22                               38:19 39:2
review 10:21                               ROBERT 1:5
                       64:12,20                                    44:8,9,11,12,
  23:17                66:12               ROGER 1:6
                                                                   21 52:8 54:25
  25:21,23             67:4,8,15           role 12:21              55:21
  29:12,14,20,2        68:2,8,11,17,         13:3 22:13            60:20,21
  1 30:1,5             23 69:8               27:9 28:3,4           61:1,4
  31:17 69:2,4
                      right 8:14 9:4       room 1:18               65:11,20
  70:9
                        10:12 11:3,15        10:14                 66:8,15
reviewed 10:18          13:1,2,16                                  67:9,22
  23:9,12                                  roughly 35:23           68:8,12
                        14:3,4
  51:17,19              15:2,10,25           36:1
                                                                 saying 31:7
  53:15                 16:14,15           rounds 22:6             41:1 44:13
reviews 23:14           17:14,16           RPR 1:25 70:20          52:9,10 58:16
  25:14 29:21           18:21                                      65:1,16
                        19:19,21           ruled 48:3
  31:19 44:25
                        24:21,22                                 says 14:4,8,20
  45:9                                     rules 1:16
                        28:20 30:22                                15:3 18:23
revise 69:3                                  68:13,25
                        33:9,21,22                                 24:10
rewarded 37:11          35:8,13                                    27:12,13
                                                  S
                        37:18,21                                   28:23 34:1
RICHARD 1:5                                safe 29:16
                        38:8,10,15                                 35:12,13 36:2
Rieder 2:3                                   37:20                 40:5 41:13
                        40:15 43:3
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 41 of 49

               Brahm, Victoria    09-25-2018        Page 22 of 30
 50:24 52:11           53:10,11,19         several 7:20            45:3
 53:15,17 54:3         56:8                shaking 8:19          similar 12:2
 59:9                 seeing 33:15
                                           she 18:23,25          similarly 1:7
scandal               seem 31:23             21:19,20,22         since 18:23
  7:19,25 13:12         34:8                 37:2                  34:20 43:8
  14:6 15:19
                      seemed 22:11           39:9,12,13            67:21
scandal-                                     43:16,17,20,2
                        32:2                                     sincerely
  plagued 4:3                                1,22,24,25
  13:19               seen 26:9              44:16,18,21           59:17
                        27:23 40:2           62:22 63:25         sit 31:25
scared 15:17            42:12,16             67:8                  44:24
Schiller 13:1         selecting              68:1,11,14
  22:14,17                                                       situated 1:7
                        22:15,16,18,1      Sheila 21:22
  27:25 29:25           9                                        situation
  30:21 31:8,12                              30:17
                                                                   36:21,24
  33:10,17            send 51:11,25        she's 22:1
                                                                 six 9:5 29:19
  34:10 37:24         senior 38:5            31:5 49:20
                                                                   30:6,7 41:16
  43:11 46:1,18       sense 66:23            63:25 67:24
  47:6 49:4                                                      sleeping 33:17
                                           shifting 37:18
  50:20 60:13         sent 53:25                                   47:7 48:23
  65:1                  60:11 63:1         shorthand
                                                                 SMITH-WILLIAMS
                      sentence               70:10
Schiller's                                                         1:5
  23:2 27:20            59:9,14            shortly 19:10
                                                                 some 7:16
  34:2 35:16          September 1:19       should 11:7             8:7,10 9:16
  36:3 41:24            5:2                  16:16 30:8            10:24 14:14
  46:8 65:20                                 34:10,15,22,2         15:18
                      series 8:4
scope 62:17                                  5 35:4,7 38:6         19:13,16
                      service 4:5            43:10 47:14           20:3,5 21:10
scrutiny 26:7           21:16 30:25          50:3                  25:21 26:11
seal 41:13              31:4 33:18,20                              27:8 28:9,14
                                           shoulder 29:15
                        48:18                                      29:14 32:7
second 37:10                               show 25:18
  59:8,13 67:5        services 21:9                                34:5 38:4
                                             47:20 52:5            39:21 42:22
                        34:5
secretary's                                  61:8                  43:22 44:1,8
  53:8                session 32:1
                                           showed 37:15            55:24 56:5
section 29:5          set 13:5 20:1                                60:12,18,19
                                           signature
                        70:6                                       61:2,10
see 6:12 7:14                                51:13
  16:16 23:22         settled 27:9                               somebody
                                           signed 13:7
  24:4 27:10,17         28:7                                       24:4,19 55:13
  29:5 35:22                               signing 13:4            58:2,3
                      seven 33:9
  38:19 41:6            41:17              Simcakoski 8:6        someone 27:9
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 42 of 49

               Brahm, Victoria    09-25-2018        Page 23 of 30
 29:14 44:10          speculate 8:20       statements            submitted 11:9
 50:8                 speculation            34:12 70:8          suburb 12:3
someone's               31:13 56:2         states 1:1,10         sued 27:7
  55:21 63:17           60:8                 2:7,8 53:22
                                             70:2                sufficient
something 11:5        spend 7:12
                                                                   48:14
  28:14 38:19         spent 21:5           stating 29:1
  42:11 44:10                                54:8,9              suggest 34:6
  47:14 52:9          spoke 15:8                                   35:13
                                           stationed 12:1
  60:20,22            spouses 60:6                               SUHR 1:6
  61:12                                    status 53:18
                      stable 29:22                               Suite 2:4,9
  62:13,14                                 stenographical
  65:1,16,23          Stacy 49:19            ly 70:8             supervising
  66:21               staff 12:11                                  34:9
                                           sterilization
sometimes               13:5 15:11,17        57:10               supervision
  16:18,20              19:1 21:14,20                              35:6,8 36:9
                        22:11 23:8,13      still 19:14,15          65:15,19
  23:23
                        25:1 29:24           21:24 31:5
somewhat 65:23                               43:14 46:4          supervisor
                        30:15,17,18                                44:18
sooner 40:6,18          31:20 34:1,4       stop 6:24
  44:19 66:1            35:2 36:2,5          16:17               supervisory
sorry 10:16             38:11 40:21                                27:8
                                           story 56:13
  11:20,22              42:15,16 43:1                            suppose 7:21
                                           Street 1:18             22:1 25:3
  40:8,10 67:1        stage 62:13,15
                                             2:4
sorts 53:6            stand 29:9                                 supposed 24:9
                                           strenuously             39:18 49:24
sound 9:1               58:23 68:15
                                             47:1
  16:11 36:11         standard 10:1                              sure 16:22
                                           stress 9:9              19:6 26:11
  53:12
                      standards
sounded 65:14                              strict 48:9,17          28:12 30:6
                        37:25 43:12                                43:1 46:21
sounds 9:3              47:8 50:21         strictly 26:5
                                                                   48:13 51:19
  17:11 21:2          stands 68:16         strike 7:5              52:7 55:24
  29:1                                       39:14 68:3            60:21,25
                      start 46:25
source 61:10                               striking 68:6           67:4,14
                      started 12:10
  62:5                                     strong                surprise
                      starts 41:16                                 46:7,12
speak 56:5                                   44:10,15
                      state 1:17 5:9         45:10,21            surprised
speaking 66:19
                        22:2               structure 19:1          46:16
specific 20:16
                      stated 18:2,23                             surrounding
specifically                               subject 46:24
                      statement              54:3                  8:4
  65:19
                        14:10
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 43 of 49

              Brahm, Victoria    09-25-2018         Page 24 of 30
survey 37:14           33:7 45:8              6:16,18,20,22        37:1,2,4,8,11
survive 15:15        tell 12:5 16:3           ,23,25               ,12,23
                       44:6 63:14,17          7:1,5,20,21          38:5,6,9,10,1
  16:2
                       64:5                   8:1,4,6,10,13        6,22,25
suspended 46:8                                ,18                  39:2,14,17,19
  47:10              telling 48:3             9:1,4,11,14,2        40:2,5,12,17
Sussex 5:13            58:2,4                 5 10:4,9,16          41:6,8,21,23
                     ten 6:6,8                11:1,4,5,9,20        42:3,11,14
sworn 5:6
                       12:7,20 57:15          ,24 12:2,9,25        43:11
symptom 48:24                                 13:1,2,4,6           44:8,12,13,14
                     tenure 20:14
                                              14:5,8,10,16         ,16,20,21,22
                       65:20
      T                                       15:9,10,12,16        45:1,12,19,22
table 63:6           term 65:6                16:1,2,3,4,5,        ,25 46:3,7
                     terminated               8,19,20,23           47:5,14,16
take 6:7
                       69:11                  18:2,6,10,18         48:10,13,20,2
  8:17,24 9:1
                                              19:3,7,10,12,        3
  13:16,24,25        terminating
                                              15,17,21,23,2        49:4,12,14,16
  18:17 24:3           1:19                   4                    ,18,21,24,25
  26:15,20           terms 55:14              20:1,6,11,12,        50:2,8,20,22,
  32:21 38:2,6
                     tested 56:14             13,16,18,21          24,25 51:13
  41:10,17,22
                                              21:6,17,21,22        52:7,9,13
  51:4,25 52:21      testified 5:6            22:20,22             53:3,6,12,19,
taken 1:16           testimony 7:15           23:8,9,14,16,        21,25
  5:25 70:6,10         61:21 69:9             18                   54:3,4,5,8,10
takes 18:6             70:7                   24:10,13,25          ,11,12,14,15,
                                              25:11,18,19,2        21
Taking 59:7          testing
                                              2                    55:2,3,4,6,10
                       55:17,18,23
talk 8:16 24:1                                26:1,5,7,10,1        ,12,17,18,21,
                       60:17,19,23,2
  25:10 40:11                                 1,13                 22 56:7,9,19
                       4 61:4,7,18
  64:4,7                                      27:1,6,10,12,        57:7,9,18,25
                       62:3,6,19
talked 15:25                                  15,17,20             58:5,6,13,15,
                       63:13,14
                                              28:11,12,14,1        19,20
talking 8:12         than 13:4                5                    59:5,8,9,11,1
  14:24 17:22          23:18 26:1,8           29:1,5,13,15,        4,17,25
  20:10 42:17          37:13 39:3             21,22                60:12,16,20,2
  57:3                 51:25                  30:16,18             1,25
task 32:7              55:19,20               31:3,9,11,15,        61:1,4,8,11,1
                       58:13,19               16,17,19,23          4,15,17,19
tasking 32:11          62:14 66:22            32:1,5,11            62:1,2,15,21,
team 53:3            Thank 64:14,16           33:2,21,22           23
  58:25                69:8                   34:8,13              63:3,7,10,12,
technically                                   35:5,12,13,15        14,19
                     that
                                              36:15,18,22          64:2,5,8
        Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 44 of 49

               Brahm, Victoria      09-25-2018         Page 25 of 30
 65:1,7,11,20,            6:10,13,18,23          37:19,24,25          45:16 49:1,3
 22,24                    7:16,17                40:20 43:12          52:2 62:16
 66:2,6,7,16,2            8:3,12                 48:4 61:25           63:15
 1 67:4,22,25             9:15,17 10:13          64:6               think 6:12,16
 68:18,20,21              12:10,16            they 7:5,6              9:18,21,22
 70:6,7,9,10,1            13:12,14              9:8,11,12             10:3,6,8
 1,13                     14:11,14,17,1         11:9 13:5,11          15:14 16:25
that's 8:22               8 15:14,18            18:24 20:1            17:2 20:18
  12:25 14:16             17:5,12,23            23:17,20,21,2         23:6,10
  16:4,19 24:9            18:20,25              2 24:1,2              24:12,16
  28:13 29:23             19:23                 25:2,6,7,10,2         25:23 26:9
  31:18 37:4,9            20:8,13,16,18         1,23                  31:11 33:4,6
  41:9 42:5               23:6,8,13             26:3,4,5,11           36:9,12,15,17
  47:22,23 48:1           28:4 29:15            28:21 36:18           ,20,25
  58:14 59:4              30:20 32:4            37:1 38:6,17          37:1,4,5,13,1
  60:19,23                33:15 34:22           39:19                 7
  63:16 66:10             35:7,12               42:3,11,13,15         38:1,3,14,25
  69:7                    36:9,12,17            ,18 43:2,4            39:9,13 41:23
                          38:7 39:19            49:10 50:12           43:10,22 46:3
their 20:2                42:24 45:1,23
  29:15                                         53:4,6,8              47:3 48:23
                          47:5,18 50:13         55:5,8,18,22,         50:1 53:7
  58:12,17 60:6           55:2 57:9,21
  62:7                                          23 58:12              55:12,16 57:7
                          58:7,13,14,18         60:9,17               58:12,14 60:6
them                      59:1 60:17,18         61:9,12 62:4          61:11,14
  6:12,17,19,24           61:14 64:1,24         63:14 64:6            64:13,24,25
  7:16 16:21              65:22,23 66:8                               65:13,22
                                              they'd 59:23
  20:4 26:10            thereafter                                    66:14,18 67:3
  29:16 45:25             70:9                they'll 23:15
                                                                    thinking 66:5
  53:2 55:14                                  they're 14:16
                        therein 70:6                                this 7:10,12
  59:2 61:6                                     28:3
  62:3,8 66:17          there's 8:24                                  8:14
                                                29:13,17,20
themselves                11:24 26:23           41:3 47:19            10:6,12,15
  28:16,19                27:6,11 29:4          50:11                 11:18,23
                          33:24 34:5                                  13:11 14:25
then 12:9                 47:1,24 54:2        they've 19:1            15:19 16:17
  23:21,24                58:3,4 62:15          64:11                 18:3 20:8
  25:17 26:3              67:3                thing 20:20             21:2 22:25
  27:12 29:17                                   21:3 23:16            24:4 25:1
                        THEREUPON 5:3
  30:17 33:23                                   61:6                  26:17,18,22,2
  34:13 38:4            these 11:8                                    5 27:2,23
  40:23 50:4              25:21 33:18         things 8:13
                                                                      28:6,17,22
  54:22 64:20             34:4,12,13            11:9 23:19,24
                                                                      29:13 31:22
                          36:15                 24:2,19 30:25
there                                                                 32:15,17
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 45 of 49

            Brahm, Victoria      09-25-2018         Page 26 of 30
 34:14,16,17,2       three 18:17              7:22 9:5,18        transparent
 1,22,24,25            32:21 52:21            11:16 12:23          55:10 61:5
 35:3,5 36:23        threes 45:10             13:1,8,20          traumatized
 37:10                                        15:18 18:24
                     through                                       13:10,15
 38:4,12,25                                   19:3 31:5
 39:9 40:1             13:6,11 14:3           43:14 45:15        traumatizing
 41:20                 15:19                  46:4,19              15:20
 42:14,22,23,2         29:21,23               47:13,14 48:8      treated 59:11
 5 43:8,19,23          33:25 37:9,23                               60:12 62:4,14
                                           ton 7:12
 46:11,13,22           40:1 54:12
                       58:22,24            took 13:9             treating 33:15
 47:2
                       60:25 61:3            19:24 27:7            62:3
 52:3,7,11,25
 53:1,2,11           throughout              44:25 45:1          treatment 62:7
 54:3                  21:4                top 50:25               63:18
 57:3,5,6,14,1                               53:10               trend 45:12,22
                     tie 47:2,3
 9
                                           tort 7:6,10           tried 44:23
 58:8,9,15,25        time 7:12,23
                                             23:18 25:16           48:12
 59:1,7,9,17           8:11,22 10:24
                                             26:6,8 28:2
 60:11                 11:3,9 16:24                              tries 4:3
 61:2,12,13,25         18:6 19:24          town 19:1               13:19
 62:1,8,9,16           21:5,22 30:23       toxic 14:9            true 9:14
 64:3                  34:23                 20:15 65:23           34:12,13
 66:1,5,16             37:21,22,23
                                           toxicities              35:5,7 47:19
 67:17,19              41:17 43:5
                                             18:25                 59:11
 68:13,19              54:23 63:15
                                                                   70:10,13
 70:15                 66:6 70:6,8         toxicity 14:12
                                                                 trust 33:8
those 6:10 7:2       times 6:3 28:2        track 31:1
  8:10 11:3                                                      truth 61:6,25
                     tissue 56:10          tracking 63:6
  12:20 14:18                                                    try 6:12
  15:15 16:1         title 28:9            tracks 23:18
                                                                   16:9,16 55:10
  23:19,22 26:3      TMJ 27:9              trained 10:5
                                                                 trying 7:14
  29:7,9,19          today 5:17              36:16 65:3
                                                                   10:1 25:5
  30:24 47:13
                       10:19               training 12:17          55:9
  49:19
                     together 51:9           20:13,21,22         turn 18:16
  63:5,6,22,24
                       53:3,7                21:6 36:13,17
  65:16                                                            32:21 52:21
                                             37:4,6 40:21
though 24:25         told 42:24                                    56:25 59:13
                       44:7,14 46:7        transcribed
  32:1 42:13                                                     turned 11:5,8
                       57:25 60:16           70:9
  54:25 64:18                                                    two 26:23
                       63:19               transcript
thought 15:15                                                      27:12 40:5,17
                     Tomah 1:18,19           4:11,12 69:2
  16:2,23 43:25                                                    49:16 55:2
                       4:3 5:22 6:11         70:9,10
  44:18                                                          type 23:20
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 46 of 49

              Brahm, Victoria    09-25-2018           Page 27 of 30
 24:25 27:8            45:20                  65:24                25:13 33:1
 28:14 65:18         up 8:8,10             vacancies               39:18 44:7
types 23:19            22:24 25:18           13:14                 51:17 53:15
                       26:12 28:15         VAF 19:12             voice
      U                34:15,17                                    16:7,10,14
                       37:23 39:5          valid 23:23
U.S 2:6                                                          Voices 20:24
                       43:2 44:4           valuing 20:25
unannounced                                                      vs 1:9
                       45:7 52:9
  39:23                                    various 12:10
                       53:10
uncover 10:9           58:12,16 61:3       VA's 38:1 61:8              W
uncovered            upon 23:24            versus 62:9           W26815 5:13
  41:24                52:2 56:6           veteran 6:21          Wagner
under 1:16             69:3                                        44:18,19
                                           veterans 1:18
  53:8 70:7,13       urine 45:17             6:16 9:5,16         wait 8:15 68:6
understand           us 24:10 45:13          10:2 50:25          wake 14:5
  40:8 65:7            51:9                  52:1 59:8
                                                                 walk 61:15
  68:2,4,9                                   61:25 62:18
                     use 42:10 46:8                              walked 37:9
                                             64:6
understanding          47:10 48:24
  7:4 20:24            65:6                Vetpro 23:17          want 6:24 16:9
  42:13 44:20                                25:18,24,25           17:7 18:10
                     used 57:9 58:5
  62:2                                       26:3,13 28:18         23:7 24:19
                     using 43:8                                    25:9 28:5,6
understood                                 vibration
                     usually 16:24                                 41:6,10
  67:4                                       16:7,14
                       50:10                                       47:12,19,20
Unfortunately                              Victoria 1:15           48:1,6
  37:19              UWM-Milwaukee           3:2 4:3,4             67:5,8,12,17
                       11:14                 5:1,4,11              69:5
UNITED 1:1,10
                                             13:19 41:6
  2:7,8 70:2                                                     wanted 50:12
                            V                69:11
universal 34:3                                                     64:4
                     VA 1:18 4:3           video 10:13
  36:4                 5:22 6:11                                 wash 33:11
                                           vio 10:5
unknown 53:18          9:5,18                                    washing 34:3
                       11:16,17,18         virus 55:15,23          36:4
unlawful 46:8
                       12:10,15,23           57:9 60:1
unless 47:1                                                      Washington 2:9
                       13:1,8,20             61:9
unrelated              20:24 23:3                                wasn't 6:22
                                           viruses 9:12
  26:11                31:5 38:4,13                                27:16 44:8,10
                                             56:7
                       40:2 43:10,14                               45:21 49:6,23
until 8:15                                 visibly 37:11           54:18
                       44:1 46:4,19
  29:15 34:16          47:13,14 48:8                               57:10,23 58:8
                                           VISN 11:19
  35:20,21,23          53:3 61:9,18                                61:8
                                             12:1,3,7
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 47 of 49

              Brahm, Victoria    09-25-2018         Page 28 of 30
way 9:19               37:15 44:16            60:11 63:1           48:17
  11:21,24,25          54:12 55:3,4        weren't 34:16         what's 22:19
  14:13 29:14          58:22,24 59:8         64:7                  25:7 26:20
  37:15 60:25        were                                          27:1 29:9
  61:3 62:3,7                              West 2:9 53:7
                       6:13,15,17,18                               43:16 51:20
ways 20:2              ,23                 WESTERN 1:1             56:24
                       7:1,2,5,12,16         2:8 70:3
we 6:17,18                                                       when 6:17
                       8:3 9:11,12         we've 37:7,12           12:23 13:5,9
  7:11 8:16
                       12:5                  41:12 69:7            14:1 18:18
  10:15 11:9
                       13:11,12,14                                 19:16,24 22:5
  13:14 15:25                              what 5:23 6:15
                       14:5,11,14                                  32:23
  17:19,22                                   7:12 9:8
                       15:14,17                                    33:13,15
  19:11,14                                   10:21,25
                       17:19,22                                    34:18 35:20
  20:20,22                                   11:11 13:8
                       18:3,8,25                                   36:23 37:10
  24:3,25 26:17                              14:13 15:9
                       19:11,14,23                                 41:22 44:23
  29:16                                      17:1,18,20
                       20:1,3,18                                   45:2 46:11
  30:9,15,22                                 18:2,3 19:7
                       23:22 26:13                                 51:5,22
  34:20 36:23                                22:3,13
                       32:4 33:15,18                               52:7,22 53:11
  37:8,11,13,15                              23:16,20
                       34:4 35:17                                  56:25
  40:5,11,17                                 24:1,25
                       36:5,15                                     57:19,24
  41:10                                      25:2,4,11,15
                       37:2,13,25                                  60:11 61:1
  45:12,13,14,1                              26:17 28:21
                       38:11 39:22                                 63:17 65:6,24
  9,20,24 47:15                              29:9,16 31:22
                       41:22
  48:2,9,11                                  33:4 34:10          whenever 34:23
                       45:1,19,23
  49:8 51:10,11                              35:10,14
                       51:11 52:8,10                             where 5:21
  52:4,8,9,12,1                              36:18,22,25
                       55:2,3,5,8,9,                               6:21
  7 53:2                                     37:13 39:4
                       23                                          11:13,21,24
  54:9,10,23                                 40:12 44:22
                       57:3,17,18,25                               14:14
  55:9,10,17                                 45:13 48:20
                       58:20                                       17:17,18 23:6
  56:19                                      49:7 51:11,20
                       59:1,10,19                                  26:6,8 27:7
  57:24,25                                   52:5,25
                       60:13,17,18                                 32:1 38:18
  58:19,20                                   53:21,24
                       63:3,7,10,15                                46:1,21 53:14
  60:19,20,21,2                              55:9,16
                       64:3,6,25                                   63:17 64:6
  5 61:1,2,4                                 57:6,23,24
                       66:5 70:6,8
  62:23 63:8,10                              58:4,23             Whereupon
                     we're 13:17             61:6,25 62:5          69:10
wearing 33:14
                       16:8 17:22            63:3,5,14,18
we'd 8:13                                                        wherever 62:9
                       24:17,18              65:18
weekly 22:7            37:18 64:13           66:4,13,15,18       whether 15:18
                       67:16                 67:1,8,18,20          31:18 35:3
weigh 54:22                                                        46:17 48:7
                     Were 6:10 7:6           68:4,11
we'll 68:14                                                        55:13
                       8:6 20:16           whatever 31:17
went 15:14                                                         61:12,13 62:4
                       41:1 49:4,21
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 48 of 49

               Brahm, Victoria   09-25-2018           Page 29 of 30
 63:7,8 69:4          Williams 49:19          43:16                61:2,24
which 6:10            Wisconsin            work 14:8,9             62:1,3,4,7,8,
  10:5 12:18                                 15:21 19:20           13,21,25
                        1:1,18,19 2:8
  20:24,25                                   37:17 43:14           63:5,6,18
                        5:14 70:3,13
  23:17 34:15                                45:24 48:24           64:7 68:10
                      with 6:16,23
  45:10,15,16,1                              49:11 51:11         wouldn't 28:5
                        7:10,19 11:17
  7 49:12 67:18                              55:3,5                31:16 45:18
                        12:9,15 13:25
  70:6                                     worked 18:24            62:6
                        14:1,2,25
while 10:15             16:4 18:18           33:1 51:9,15        write 48:15
  39:20 44:1            19:11,15             62:23                 51:12
who 9:23                20:8,22 21:8       working 16:3          writing 41:7
  15:8,12,15            22:3 26:10           33:13 44:1            57:18
  21:13,17,21           28:7,15              64:11
                        29:2,8 31:5,8                            wrong 21:4
  22:20 23:12                              works 17:10             45:22
  28:11,12              32:7,11,22,23
  30:13,16,17,2         33:1 34:2          world 65:10           wrote 54:23
  4 43:25               35:5,9             would 8:9               57:24
  44:6,18 47:6          36:3,23 39:21
                                             13:6,10,15
  49:18 50:5            40:24                                           Y
                                             15:18 18:4
  51:15 54:14           41:13,18 43:2                            yeah 6:9 7:9
                                             21:20
  55:3,4 58:10          45:9,24                                    11:7,8,23
                                             22:5,15,16,17
  60:20 62:21           48:2,18 49:11                              15:14
                                             ,18,22 25:3
  63:19 64:7            51:5,6,7,11,1                              17:13,15,24
                                             26:7 27:24
                        8 52:9,22                                  18:13 20:4
whole 7:19 8:4                               28:1,5,17,18
                        57:1 58:17                                 24:16,22
  36:24                                      29:2
                        59:2 61:15                                 26:23 28:23
                                             30:6,13,20
Who's 31:3              62:16,24 63:7                              31:14 41:3
                                             31:16
why 24:10 38:6          64:9,11                                    42:8 46:16,25
                                             33:7,8,22
  45:5 47:23          within 65:10           34:13                 47:22 53:20
  51:25 56:17         witness 1:16           35:1,5,8,22           57:5 59:6
  58:14                 3:2 5:5              38:10,25            year 18:4
  60:19,23              16:16,22             39:2,4,7,10,1         19:17 35:25
  62:11 65:24           17:25 19:10          2 41:8                36:8 37:14
WI 2:9                  31:14 42:3           42:3,15,16,20         47:9
                        60:9 64:16           45:10,15,17
will 16:20                                                       years 11:18
                        67:3,11,14           46:7,11
  22:21 24:23                                48:10,12,13,1         12:7,9,20
                        68:6,12,18                                 14:19 61:16
  25:18 29:8                                 7,18,20 49:18
                        69:6 70:7
  32:21 52:15                                50:14               yes 5:18,20
                      witnesses 24:1         55:21,22,24           6:2 7:17
William 2:3
                        25:7,10              56:6,11,14,16         8:3,10 9:7
  4:6
                      word 13:10             ,17 60:7              11:17 14:11
     Case: 3:17-cv-00823-wmc Document #: 47 Filed: 11/06/18 Page 49 of 49

            Brahm, Victoria      09-25-2018         Page 30 of 30
 15:22 17:25           24 22:9,13             23 61:1,17           68:6
 18:7 19:22            23:2,5,23              62:11,13           yourself 13:25
 20:5 21:7             24:22                  63:9,12,17,19        18:18 32:22
 23:1 27:18,22         25:8,15,16,17          64:8,14,16,24        41:18 51:5
 29:3,6 30:2,4         27:10,17,19,2          ,25                  52:22
 31:6,10               3,24                   65:1,6,13,15,
 32:9,12 36:14         29:2,4,5,7,25          18,22,24           You've 58:3
 38:14,24 39:8         31:11,22               66:1,4,6,14,1      Yup 68:17
 40:3,14               32:7,21,25             8,21
 43:15,18,21           33:4,9,25              67:6,12,21,23            Z
 44:3,5,21             34:8,16,17,20          ,24 68:7,10        zero 53:18
 45:4 46:11,15         35:5,8,16              69:1,4,8
 51:14                 36:9,12,15,20       you'd 69:5
 53:13,23 55:8         ,25
 56:15,16,22           37:4,9,13,16,       you'll 8:25
 59:6,12,20,22         22                    13:16
 ,24 60:5,9            38:1,3,19,20,         26:15,20
 65:2,12,17,21         25                    50:23 56:24
 66:3 69:6             39:9,14,15,22       your
you                    ,25 40:2              5:9,12,15,23,
  5:9,17,19,21,        41:1,6,10,17,         25 7:4
  25 6:4,18            22 43:10,22           8:16,19 11:11
  7:1,8,9,11           44:2,4,6,8,12         12:6 14:10
  8:6,11,15,16,        ,22,23                16:10,19 19:6
  18,20,21,22,2        45:5,8,18,19          22:3 32:10
  5                    46:1,3,7,14,2         42:21 43:1
  9:1,4,8,11,17        1,23                  44:20 47:19
  ,18,21,24            47:19,20,25           51:13 52:12
  10:6,18,21           48:1,23               58:5 59:4,18
  11:4,15              49:4,21,25            62:2 66:24
  12:5,12,23           50:5,18               67:9,12,19,20
  13:3,4,9,24          51:8,18,22            69:2,4,8
  14:5,16,24           52:8,10,13,15
                                           you're 7:25
  15:14,21             53:10,11,19,2
                                             10:14 14:1
  16:2,4,9,21,2        5 54:7,8,20
                                             15:9 17:1
  5                    55:12,21
                                             18:19
  17:7,12,14,18        56:4,6,7,13,1
                                             25:17,19
  ,20                  4,16,18
                                             32:23 40:9
  18:3,8,10,16,        57:3,17
                                             42:17 46:21
  17                   58:2,3,4,5,22
                                             47:17 51:5
  19:3,7,11,16,        59:9,11,14,18
                                             52:23 57:1
  20,24 20:16          ,19,23,25
                                             58:16 65:3,9
  21:5,8,11,19,        60:4,6,11,16,
